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                                            FILED by          D.c.
 UN ITED STATES D ISTRICT COURT
 SOUTH ERN DISTRICT OF FLO RIDA
                                              NûV 15 2213
                                                               l
            Randolph H .GutluieIII           S
                                             CL
                                              TEVREKNUMS
                                                       .LA
                                                         DR
                                                          ISIMOF
                                                             T Cr
                                              S D, oféL/ -MI
                                                           XM s xTH AM ENDED COM PLAIN T
                                                             ,


                  V.

        US G overnm ent,                                             Case # 12CV 22193
        Apple Inc.,
        AT&T Inc.,
        BakerD onnellson,
        City ofM iam i,                                                                           CD
        City ofN ew York,                                                                         N
        Colum bia University M edical,                                                            k
        Costco W holesale Corporadon,
        CVS Carem ark Corporadon,
        Directv,
        elqarm ony.com ,
        Facebook lnc.,                                                                    T.aVA
        FederalExpressCorp.,
        Grady County ,O K,
        HotwireCom m unicadons,
        IAc/lnteractivecorp,
        lconbrickellM asterAssociadom Inc.,
        IconbrickellCondom inium No.One Association, lnc.,
        IconbrickellCondom inium No.Three Associadon,Inc.,
        J& JTeq111,Corp.,
        JonathanJacobs,
        Joseph DelPizzo,
        KingsRealty & ProperdesLLC,
        Lee Lott
        N ew York Presbyterian H ospital,
        PearlRiverCountp M S,                                 I
        RiversidePark Comm unitp LLC,                         1
        RiversideParkCom munity I1,LLC,                       I
        RobertHauberg,                                        l
        United ParcelService,Inc.,                            I
        University ofM iami,                                  I
        Urban Am erican M anagement,                          )
        TRG BrickellPointHotelfLLC (DBA ViceroyMiami) I              JuryTrialDem anded
        Union & ProgressUSA,LLC,                      1
        W algreensCo.                                 I
                                                     I
 Parties:
 Plain:ff, Randolph Guthrie, is a US cidzen and a resident of M iam i, FL.Defendants are the US
 G overnm entand itsco-conspiratorsw ho are individuals, corporadons,and localgovenunents.

 Iurisdiction:
 TlaisCourt'sjurisdicdonisinvokedpursuantto28USC 1332(diversity& amountgreaterthan$75,000),
 28USC 1346(USasdefendant),and28USC 1402(USasdefendant).Theassertedrightsandinterestsof
                                                  1
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 the plaindffexceed $200,000,000 exclusive ofinterestsand costs.The substnndve claimsin thisacdon
 ariseunder28USC 2671(FederalTortClaimsAct),Common Law,and 96USC 1964(CivilRlCO).I
 have presented m y claim s in com pliance w ith the requirem ents of 28 USC 2675. Copies ofm y tort
 claim sare attached to thiscom plaint.lw ould also like to pointoutthatm y priorlaw suitsSDN Y 09 CV
 0990 and SD N Y 11 CV 0211 could also be conskued as fulfilling the FI'CA no:ce requirem entforthis
 suit.

 V enue:
 TheSouthern DiskictofFloridaisthepropervenueforthisacdon.Accordingto28USC 1402(a)acivil
 actionin adistrictcourtagainsttheUnited Statesmaybeprosecuted onlyin thejudicialdistrictwhere
 the plaintiffresides.

 Introduction:
 Ihled twopriorrelated lawsuitsin theSouthernDiskictofNew York (casenumbers09CV 0990& 11
 CV 0211)whereIwasliving atthetime.Iam now livingin MiamiwhichiswhyIam filingin anew
 diskict.

 The 09 case was dism issed based on failure to give proper nodce as m andated by the Federal Tort
 Claim sA ct.A tthe tim e Ibelieved thatlw asnotable to refile due to statttte oflim itadonsissues. Since
 then I have realized that due to the fact that there is an ongoing conspiracy that the statute of
 lim itadons has not even begun to tollw hich is w hy I am now incorporadng those claim s into tltis
 presentsuit.

 The 11 case w as dism issed before any ofthe defendantshad even answ ered the com plaint. Iappealed
 butw laile Iw as in China a docum entw hich Ihad properly filed V tIAthe clerk m ysteriously vanished
 from the file w ith the resultthatthe appealw as dism issed. In represendng those snm e claim s to tltis
 courtin tltis case m y purpose is hotto tr.y to 'shop around'fora m ore sym pathedc court,butsince the
 dm e lim itfor refilling the appealhas rtm outrefilling a11the claim s is the only w ay that1know ofto
 properly exercisem y Cortsdtutionalrightofaccessto the courts.

 Facts & Claim s:
   Count1 -Breach ofFiduciary Duty - US Govermnent,BakerDonnellson, Lee Lott RobertHauberg

 1)lwasarrestedandprosecutedinFederalcourtforcopyrightinfringementinSeptember2005.

 2)lwasrepresented inthatcriminalcasebythe1aw firm BakerDonnellson andbythelawyersRobert
 H auberg and Lee Lottwho are parG ersatthatfirm .Ihave recently com e to realize thatthese law yers,
 while they w ere represendng m e,werein factcolluding with US Goverm nentand the prosecudon, thus
 violating atlorney clientprivilege and denying m e m y rightto com petentlegalrepresentadon.

 3)ln ordertofacilitatemy return totheUS from ChinaUSGovernmentmadeasecretdealwith the
 Chinese Governm ent not to hold a trial in order to save the Chinese Governm ent from possible
 em barrassm ent.Theselaw yersw erew ellaw are ofthe existence ofthisdealand yetpushed m eto ple:d
 guilty w hen they knew thatUS Goverm nentcould notputm e on kial.
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  4)Theselawyersthuscollected in therangeof$500,000from meyetdidnotrepresentmetothebestof
  theirabilides.

  5)Asaresultoftheselawyerspfessuringmetopleadguilty 1served26monthsinFederalprison, paid
  $820,000 in fines and forfeiture,and am now a felon. ltis,ofcourse,im possible to know w hatresult
  m ighthaveoccurred had 1had honestand ethicallegalrepresentation.

  6)ltmightbeargued thatUSGovernmenthad an excellentcaseagainstm eand they didexceptforone
 problem . The US and Chinese G overnm ents w ere by their ow n declarations parm ers in the
 investigadon and prosecudon ofm e and m y DVD business. Thus US Govem m entw as notentitled to
 prosecute m e a second dm e for crim esforw ltich Ihad already been prosecuted and sentto prison in
 China.TheChinesefined me$180,000.W hatdo you getwhen you add $180,000tothe$820,000 thatUS
 Governm enttook from m e? On inskucdonsfrom US G overnm entm y law yers purpo:ely ignored this
 issue and failed to file discovery m ohonsw hich w ould haveforced US Governm entto acknow ledge the
 above facts.

 7)Anotherexampleofmy lawyers'willfulfailuretoproperly representmeistheir* 11511failure to
 irtform m e of the approxim ately fifteep m onth sentçnce reduc:on thnt is typically granted to
 pardcipants in the drug and alcoholkealm entprogram run in federalprisoxu . Asa resultIm inim ized
 the extentofm y alcoholproblem w hen interviewed during the presentence itw esdgation. Laterlfound
 outaboutthe drug and alcoholprogram on m y ow n and saw a therapistso thatIcould be eligible for
 theprogram .Theselaw yerswere again acdng on inskucdonsfrom US Govenam ent.

 8)DuringOctober2005justaftermeedngLeeLottandRobertHaubergforthefirsttimeLeeLottwent
 outoflzis w ay to tellm e a story abouta pro bono clientwhom he w as representing. Lee said thatthis
 manhadbeenkansferredtothelocalcountyjailsothathecouldattendcourthearings Lee kepttelling .

 mewhatahardtimetlaisguywashavingandhow dangerousthelocaljailswere He even told m e that
                                                                                      .

 tltis m an,w ho is black,w as the victim ofa gang attack by wllite suprem acists. Lee told m e that this
 m an had been hiding when he heard a group ofwhite gang m em bers com ing down a hallw ay talking
 abouthow theyweregoing tokilla11theblacks(ofcourseblackwasnottheword thatthey used)just
 before they found him and beatltim up.

 9)ln factnoneofthese eventsactually happened.LeeLotthad been told to tellthisstory tomeby
 RobertH auberg and US Goverm nentso that1 would be under addidonalem odonalskess w hen US
 Governmentputmein thePearlRiverCountyJailsometwo yearsin thefuture               .




 10)AccordingtoTheThirdRestatementofTheLaw GoverningLawyers:
        b16(3)-To the extentconsistentwith thelawyer'
                                                    s otherlegaldutiesand subjectto tbe other
        provisiortsofthisRestatem ent,alawyerm ust,in matterswithin thescopeoftherepresentation ...
        comply with obligatiorts concerning the client'
                                                      s confidencesand propertp avoid impermissible
        conflicdng interests,dealhonestly with the client, and notem ploy advantagesarising from the
        client-law yerreladonship in am anneradverseto theclient.
        949 -A lawyeriscivilly liable to aclientifthelawyerbreachesa fiducialy duty to theclientset
        forthin 51643)andifthatfailureisalegalcauseofinjury.
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  11)Theselawyersthusbreachedtheirfiduciarydutytomewhenthey170thfailed todealhonestlywith
  m e and when they placed theirreladonship w ith the US Goverm nentahead oftheir reladonslaip with
  nAe.


  12)USGovernmentwastheleaderoftltisactivityandinducedthelawyersintheirtordousconduct                 .



              Count2 -Fraud -US Governm ent, BakerDonnellson,Lee Lotl, RobertH auberg

  13)IreallegeParagraphs1-9.

  14)AccordingtoTheSecondRestatementofTorts:
         0525-Onewho fraudulently makesa misrepresentation offact, opinion,intendon,orlaw forthe
         purpose ofinducing another to act or to refrain from action in reliance upon it,
         li                                                                           issubjectto
          abilitytotheotherin deceitforpecuniarylosscausedtohim byhisjustifiablerelianceuponthe
         m isrepresentation.

 15)Rule9(b):
     (1)Theselawyerspromised torepresentmetothebestoftheirabilitiesand toplacemy interestsahead of
     theirown whenin factthey had nointention ofdoing so and in factdid notdoso.
     (2)Theselawyersknew thattheyweremakingfalsepromisesatthedmethattheymadethem              .
     (3)Untilrecently lhad noideathatIhadbeenliedtoandtrickedbythem      .

     (4)Inmakingtheirfalsepromisestometheyhadeveryintention thatlshouldactuponthem        .

     (5)1didinfactitiretheselawyersand theyscrewedme.

 16)Theselawyersdefraudedmeintheamountoftheirbillingswhichwereintherangeof$500,000.US
 Goverm nentwasthe leaderoftlaisfraud and induced thelawyersto engage in it.

    Count3 -Inten:onalInflicdon ofEm odonalH arm       US Goverrunent,BakerDonnellson, LeeLott,
                                                        -


                                             RobertH auberg

 17)lreallegeParagraphs1-9.

 18)According toTheThird RestatementofTortsLiability forPhysicaland Em odonalHarm:
         546- An actorwho by extrem eand outrageousconductintentionally .. . causessevereem otional
         harm toanotherissubjecttoliabilityforthatemotionalharm   .




 19)1suffered emodonalharm asaresultofUSGovernment/s, Baker Dolm ellson/s,Lee Lotfs,
 and RobertH auberg'sacdons.

20)lfaman'slawyerintendonallytellinghim aficdonalscarystorydesignedtoputhim infearforhis
life when in a M ississippicounty jaildoes notexceed the requirem entforexkem e and oukageous
conductthen itisdifficultto know whatsortofacdonsw ould m eetorexceed thatrequirem ent.

          Count4 -Conspiracy -US Governm ent, Baker Donnellson,Lee Lott,RobertH auberg

21)1reallegeParagraphs1-9.

                                                    4
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  22)AccordingtoTheSecond RestatementofTorts:
         5875 - Each of two or more persons whose tordous conductis a legalcause of a single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm       .




  23)The above named conspirators acted in concertwith a common design to harm me in their
  com m ission ofCounts1-3.

           Count5 -CivilRICO -US Governm ent, BakerDonnellson,Lee Lott, RobertH auberg

  24)1reallegeParagraphs1-9.

 25)AccordingtotheUSCode:
         18USC 1961statesthat''
                              racketeering acdvity''m eans... any actthatisindictableunderany ofthe
         followingprovisiorts.,.01341(relatingtomailfraud).
         18 USC 1962 statesthatitshallbe unlawfulfor any person em ployed by orassociated with a
                                                                                                     ny
         enterpriseengaged in,orthe activitiesofwhich affect' interstate orforeign com m erce,to conduct
         orpardcipate,direcily orindirectly,in the conductofsuch enterprise'saffairsthrough a pattern
         ofracketeeringactivity.
         18USC 1964statesthatanypersoninjuredinhisbusinessorpropertybyreasonofavioladon of
        section 1962ofthischaptermay suethereforin any appropriateUnited Statesdistrictcourt.
        18 USC 1341 states whoever,having devised or intending to devise any scheme or ardfice to
        defraud, or for obtaining m oney or property by m eans of false or fraudulent
                                                                                             pretenses,
        representations,orprom ises,...placesin any postofficeorauthorized depository form ailm atter,
        any m atterorthingwhatevertobesentordeliveredby thePostalService, ... orknowingly causes
        to be delivered by mailorsuch carrieraccording to the direction thereon, ... any such m atteror
        thing,shallbefined underthistitleorimprisoned notmorethan 20years, orboth.

 26)TheselawyersattheinsdgadonofUSGovermnentplacedbillsfortheirfraudulentlegalsezvicesin
 the interstate US M ailover the course ofseveralyears. Tlais activity form ed a continuous patlern and
 interstate enterprise during the relevant m uldyear dm e period. This acdvity only ended w hen l w as
 released from prison.These law yers only stopped their m ail fraud acdvities w hen it w as no longer
 possible forthem to do so ratherthan choosing to stop on theirow n.

                             Count6 -FalseIm prisonm ent-US G overm nent

 27)IwasincarceratedatFC1Ft.Dixfrom April2006toJune2008.

 28)During my incarceradon atFClFt.Dix the FC1 contained at least several hundred federal
 undercover agentsposing asim nates.

 29)Theundercoveragentkainingprojectthatwasoccurring atFCIFt.Dixduringmy limetherewas
 apparently so importantand laigh profile within the DOJthatthe warden ofFCIFt Dix during this
                                                                                            .

tim e,CharlesSam uels,isnow directorofthe FederalBureau ofPrisons.

30)Manyagents.whowerenewlyhiredweretherebeingkainedthroughtheprocessofbeingexposed
to crim inalsin a conkolled environm ent.
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  31)Manyofthenewlyhired agentsarerecruitedfrom themilitary.FCIFt.Dixisnotanuncomfortable
  environm ent for them since the prison housing units at Ft. Dix are in fact decom m issioned m ilitary
  housing.

  32)A smallnumberofthe federalagentsatFt.Dix areolderexperienced agentswho are there to
  supervise the trainees.         '

  33)Someofthe trainee agents move on to the medium and maximum security prisonsaftertheir
  trairting atFt.Dix.To facilitate their acceptance by the im nates atm axim um security prisons, m any of
  w hom have been there for decades,it is necessary for these agents to spend m onths in the Special
  Housing Urtits (SHU)atthese prisons.ln orderto train and condition these agentsto the harsh
  condidonsthey firstspend m onthsin the SH U atFt. Dix.

  34)Many1ow securityprisonsdonothaveSHU'Sasthesortsofimnatesatlowsdonotgenerallyincur
  disciplinary incidentsthatw ould require placing them in a SHU .

 35)M any oftheinmatesatlowswould bein cam psbutfordisqualifyingfactorssuch asnon-uscitizen
 status,detainers,etc.

 36)ln theeventthatan inmateatafederalcorrecdonalinstitution which doesnothaveaSHU merits
 being placed in aSHU he isgenerally kansported to a nearby federal(oreven state/local)facility
 w laich doeshavea SH U .

 37)FClFt.DixdidnothaveaSHU undlafew yearsago.Now itisvirttlally011Priorto the SH U being
                                                                                .

 constructed at Ft.Dix the occasionalim nate w ho w as caught fighung w as sent to the SH U at FCI
 Fairton,a forty-five m inute drive.

 38)Theconstruction oftheSHU atFC1Ft.Dixmay havecoincided withtheprison'suseasatraining
 facility forfederalundercoveragents.

 39)TheSHU atFCIFt.Dixhassecurityfeamressuch asfrosted windowsnotfound evenin SHU'Sin
 m axim um security prisons.

 40)The SHU atUSP Lewisburg notonly has kansparentwindows,butthe windowscan also be
 opened.There is even a sign posted on the outside w allofthe Lewisburg SH U instructing im nates on
 the running track not to yellto inm ates in the SHU , obviously a violadon of inm ates' right to free
 speech.

 41)TheSHU atFCIFt.Dixalsohasanotherodd feature.Theceilingisnotpainted Thew allshavebeen
                                                                                    .

 painted,butthe ceiling hasbeen purposely been leftasbare concrete. The SH U atFDC Philadelphia has
 a painted ceiling asw ellaskansparentw indow s.

42)TheFt.DixSHU'Sceilingmayhavebeenleftbaresoastoprovidecamouflageforfiberopdcvideo
surveillance devicesthatw ould be harderto cam ouflage w ere the ceiling painted solid w hite to m atch
the walls.

                                                   6
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  43)TheoverwhelmingmajorityofinmatesintheSHU atFC1Ft.Dixareinfactfederalagents                                     .



  44)ThefactthattheSHU ispopulatedbyfederalagentsinsteadofbonafideinmatesV tIIdisciplinary                     .

  problem sm ay explnin w hy SH U inm ates are allow ed contactvisitsin the sam e m annerand,in fact,in
  the sam e visidng room asnon-SH U inm ates. Thiswhole procedure iskuly laughable. W hile in the SH U
  inm ates are considered such a security threatthatthey have to be handcuffed through the food slot
  before the celldoorscan be opened. They arenotallowed outside theircellswithoutbeing handcuffed
                                                                                                       .
  How ever once they reach the visidng room , as if by m agic, the handcuffs com e off and the SH U
  inm ates are allow ed to w alk around ue andcuffed not only in the presence of guards and other
  inm ates,butw ith the visitors asw ell!

 45)Occasionally realinmatesareplaced in theFt.Dix SHU forreasonsrelated to theagentkaining
 program and notprim arily forreasonsofinsdtutionalsecuritp asrequired by law .

 46)Examplesofinmatesplaced in theFt.DixSHU forreasonsrelated totheagenttrainingprogram
 would be m yselfand RobertBrelm an, the penny stock fraudsterwho w astwice profiled on 60m inutes
                                                                                                  .
 O bam a buddy Tony Rezko w askeptin a SH U foroverayearon variousp
                                                                      retextsm ostlikely so thathis
 federalagentcellm atescould try to gethim to talk.

 47)Below isalistoffederalundercoveragentswhohavemasqueradedasixunatese                              .

 J
 IamesLabate- 49446-054 (- .america= aha.com/Feamre Ardcles s4.he )            -         -

  rwinSchiff- 08537-014 (www.paynoincometax.com)
 TimothyErnle- 01182-055 (USv.Knoll(16F3d1313))t
 JasonVale- 09073-067 (www.apricotsfromgod.info)
 KurtW alter -        25008-038          .


 DavidLeichus- 35506-054 (DaviddidnotdoltisprisondmeatFtDixwiththeplaindff.)
 Th                                                                                .

   omasWilliams ('escaped'from Ft.DixinJune2006,lastseenridingawayonalawnmower)
 DanielGordon- 55795-054 (- .sec.gov/li*ga:on/likeleases/lrl8slshe )                         .



 *lhaveprovided theinm atenum bersthatIbelieveto becorrectfrom w ww .bop.gov.Icannotguaranteetheiraccuracy
 Thew eb linksare listed soasto provide some background inform ation on the individualsconcerned          .
                                                                                                          .


 tTimothy Ernleplayed acriticalrolein US v. Knoll(16F3d1313).ApparentlyinJune1986Tim burglarizedalaw office
 and then 'unsolicited'broughtthe purloined docum ents to an AUSA . Tim 's stat'us as a Fed would seem to throw that
 case in an entirely new light.Ifthe readerisstillskepficalhe should com pare Tim othy Ernle's
Gen.BillDonovan the OSS chiefand a formerhead ofthe DOJcriminaldivision                              picturewith thatofM aj.
                                                                                Exceptfor the noses,the faces are
                                                                                        .
nearly identical.Tim told m e thatBillDonovan w as his greatuncle, w hich ltook w if.
                                                                                    h a grain ofsaltuntilIsaw Bill
Donovan'spicturein a book. BillDonovan and Tim Ernleare also both from the Buffalo NY area.
                                                                                   ,



48)USGovernmentkumped up disciplinaryincidentstosuittheneedsoftheagentkainingprogram
ratherthan forlegidm atecorrecdonalinterests.

49)USGovernmentviolated myrighttosubstanhvedueprocessthroughoutmy incarceradon atFCI
Ft.Dix.l

1Danielsv. Williams(106S.G.664)-lusti   ceRenquistexamined thehistoryofthedue processclauseandfoundthati
                                                                                                       twasoriginaliyintendedto
protectindividualsfrom oppressionandë'thearbitraryexerciseofthepowersofgovernment''.
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   50)ThesubstandvedueprocessvioladonsoccurredastheresultofUSGovernmentrurmingtheprison
  prim arily for the benefit of the federal agent kaining program rather than for US Goverm nent's
  legitim ate correcdonalinterests.z

  51)USGovernmentviolatedmyrighttoequalprotection3                           .




  52)USGovernment'sdisciplinaryandotherdiscredonarydecisionswithrespecttomyselfweretainted
  b
   y the existence ofthe agentkairting program and itsinherentconflictV tIAnorm alprison funcdons
                                                                                                                                       .



  53)Someofthesedisciplinaryincidentsresulted inm ylossof''Good Tim e'', a statutory liberty interest.

  5
  D4)Som e ofthese disciplinary incidentsresulted in my being unable to pardci
                                                                             patein the Residendal
    rugAbuseProgram (RDAP)andtlaelossofanapproximateoneyearreducEoninprisondme                                                 .




  55)ThetimeoffforsuccessfulcompledonoftheRDAPconsdttltesastatecreatedlibertyinterest/

 56)lspentmanymonthsintheSHU forreasonsnotrelatedtoinstittlhonalsecuritys                                      .



 57)Transferfrom theFt.DixCamp totheSHU deprived meofaliY rtyinterest6                                    .




 58)Condi:onsin theFt.Dix SHU areactually worse th% thecondihonsin the Federal S
 prison in Florence,Colorado.;                                                                                                uperm ax


 2Rochin v. Cal
              ifornia(342 US165)-Substantive dueprocessprohibi
                                                             tstortiousstateconductthat'shocks the conscience''and ''offendsthe
 cannonsofdecencyandfairness''
 HallV.Tawney(621 F2d 607)- Substanti
 f
                                    vedue processprohibits'those Ii
                                                                  terall
                                                                       youtrageousabusesofofficialpowerwhose veryvariety makes
  orm ulationofam oreprecisestandard im possible.''
 3Willowbrookv. Ol
                 ech(528US562)-TheCourtexplainedthatthepurposeoftheequalprotectionclause ''istosecureevery personwithinthe
 S
  tate'sjuri
           sdi
             cti
               on againstintentionalanclarbitrary discri
                                                       m ination.'Iplainti
                                                                         fflneed onl
                                                                                   y show intenti
                                                                                                onaland arbi
                                                                                                           trary di
                                                                                                                  scriminati
                                                                                                                           on to bis
 detriment.                                  '
4M eachum v. Fano(427 US224)-Thestatemaycreate'liberty'wi     thinthemeani    ngofthedueprocesscl e.Consequently,inprisondue process
cases,the courtIooksto state statutesand regulati
                                                onsto determ ineifa I  iberty interest,andthereforeaus
state is deemed to createa Ii                                                                       arightto proceduralfairness,exists.The
d                           berty interestifthe pertinentstatuesand regul   ationsim pose substantive I
                                                                                                      im itson the discretion to make such
 ecisions.Thusifastatuegoverningparolespecifiescriteriafordecision, aIibertyinterestexistsandprocessisdue
                                                                                                            .
SRiverv. Fogg (371F.supp.938),Kelleyv.Brewer(239 NW2d 109)
                                                         , Dak
Thecourtsview theproperpurposeofisolatedconfinementto bethe  l
                                                             ghtel'
                                                                  yv.Carlson(372F-supp.1320),Cli
                                                                                               ftonv. Robi
                                                                                                         nson(500F-supp.30)-
                                                            maintenanceoforderwithintheinstit       ution.
Hancockv.Avery(301F.supp.786),JordanV.Fi
                                       tzharris(257F.supp.674),AttorneyGeneralv.W orcester(413NE2d772)
F.supp.989),Mil
              housev.Carl
                        son(652 92d371)-thereforeanypunishmentthati                                      Westv.Lamb (497
                                                                      snotnecessarytomaintain orderiscr,uel
prohibitedbytheEighthAmendment.                                                                            and unusualand

Bonov.Saxbe(450F.supp.934,620F2d609)-Punishmentindisciplinarysegregationfornooffensewould be,afortiori,disproportionateand
cruelandunusual.
lohnsonv.Anderson(370F.supp.1373),Breecev. Swenson(332F.supp.837)- Arbitral ordiscrim inatoryimposition ofsolitarywould alsocome
withinEighthAm endm entprohibition.
6W agner v. Hanks(128 F3d 1173)- lndecidingwhethera l
                                                    iberty depri
                                                               vation occurred
2300)1mustcomparecondi                                                           afederalcourtafterSandin(Sandinv.Connor(115S.Ct.
                         tionsindisciplinar'ysegregationwithconditionsinwhichthe,generalpopulationofthe p
werea 'country club''in which the prisonersenjoyeda greatdealoffreedom, spending Iittletime intheircellsorrieven
                                                                                                            son isconfined.lfthe prison
                                                                                                                 inthe prison buildings
confinementforaprotractedperiodinwhatamountstosoli
                                                 tarycpnfinem entwouldworkanatypicalandsignificantdeprivationoftheirliberty                ,
                                                                                                                                   .


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  59)SomeofmytimeintheSHU wastheresultofbiaseddisciplinaryincidents                                   .




  60)Theconflictofinterestrelated totheagenttraining program violated my righttoproceduraldue
  processw hen being deprived ofa liberty interest.

  61)Someofmy timein theSHU resultedfrom myrequestingprotecdvecustodyinordertogetaway
  from federalundercoveragents.

  62)Oneprotecdvecustody requestresulted when Iwastheonly whiteman assigned toaroom the
 otheroccupantsofw hich w ere a1lblack.

 63)lwasdeniedaroom changeeventhoughthehousingunitwashalfempty                                    .




 64)Ihad roomed with blacksbeforewithoutdifficultp both in mixed raceroomsand with asingle
 black room m atew hile in a two m an SH U cell.

 65)Ifeltthattheseparticularblacksbehavedlike'gangstas'andweregoingtobekouble                                .




 66)Room changesare extremely simple.They can be accomplished by a staffmemberwith a few
 keystrokesin aslittleasone m inute.

 67)Room changesareroudnelygranted solongastheydonotbecomefrequentrequests                                  .




 68)Ihadneverpreviouslyrequestedaroom change.

 69)W hen Ft.Dixstaffchoseto placemeinprotecdvecustody ratherthan grantmearoom changeI
 realized thatm y housing assigm nenthad been a 'set-up'from the begitm ing.

 70)lnsisdngthat1liveinaroom withexkemelyunpleasantroommateswaspartofUSGovernment's
 ongoing effortofintenhonally inflicting em odonaldiskessupon m e.

 71)Duringthecourseoftheroom changeincidentlapproached thestaffmemberin chargeofroom
 assignm ents,a M r.D ixon,and told him that''IfIdontgeta room change lam going to have to 'check
 in'(to the SHUI''.As a resultoftltis sGtementand my ensuing 'check in'1received a disciplinary
 incidentreportfrom M r. Dixon fùr''Refusing to Program /'.

 72)Someofmydmein theSHU resultedfrom myrequesdngprotecdvecustodysoasnottobesubject
 to arbitrary and capriciousw ork assigm nents.8

 73)Thisacdon isnotsubjecttothePrison Litigadon Reform Actsincelwasnotincarcerated atthetime
thatlfiled thissuit.9


7W ilkinsonv.Austin(125S.Ct.2384)-PrisonershaveaIibertyinterestinthedeterminationofwhethertheyaretransferredtoasupermaxprison
                                                                                                                            .

8Battle v.Ander
              son(376F.supp.402,993F2d1551)-noassi
                                                 gnmenttojobsonanarbi
                                                                    traryorcaprici
                                                                                 ousbasi
                                                                                       s      .


                                                              9
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  74)AccordingtoTheSecond RestatementofTorts:
           535 -An actorissubjectto liability to anotherforfalseimprisonmentifhe actsintending to
           confine the other or a third party w ithin boundariesfixed by the actor, and his actdirectly or
           indirectly results in such a confinement of the other, and the other is conscious of the
           confinem entorisharm ed byit.

  75) In repeatedly illegally depriving me of liberty interests US Governm ent is guilty of false
  im prisonm ent.

                                     Count7 -N egligentConduct- US Governm ent

  76)ITeallegeParagraphs27-73.'

  77)Whileassigned toworkinthelandscapingteam in facilitiesmaintenance1wasgiven adisciplinary
  incidentby staffm em berD ixon forreading quietly in the prison library even though M r. Dixon did not
  even work in facilides.

  78)Mr.DixonthentoldmethatIwouldbeworkingfo<laim inthefuture.

  79)M r.Dixon supervised theorderliesin thehousingurtitthatlhad occupied.

 80)BeinganorderlyisoneoftheeasiestjobsatFt.Dix.

 81)Anorderlycangenerallyfinishlzisjobforthedayinlessthanhalfanhour.

 82)OnceanorderlyhasfinishedHsjobheisfreetowatch'
                                                1'
                                                 V,read,etc.fortherestofltisslaift.

 83)Myurtithadapproximatelyonehundredorderliesassignedtoit.

 84)In a non-prison environmenta building such asthat,with aboutten thousand square feetof
 com m on area and twelve bathroom s,w ould likely have atm ostfive orderliesw orking in it.

 85)1wastoldbyMr.Dixonthatlmustworkoutsidethebuildingpickingupkash,etc.

 86)1wasfurthertoldthat1alonewasnotallowedinsidethehousingunitduringmyshiftexcepttouse
 thebathroom .

 87)W hen Mr.Dixon found mereadingamagazineunderakeeand confiscatedthem agazineitbecame
 obviousto m e thatlw asbeing singled outforcrueland unusualpunishm ent.

 88)Myarbikaryandcapriciousworkassignmentamountedtocruelandunusualpunishmentlo.
 9 Greig v. Goord (169 F3d 165)-W ehol
                                     d thatl
                                           itigants--îikeGreig--who fileprisoncondi
                                                                                  tionactionsafterreleasefrom confinementarenolonger
 'prisoners'forpurposesof91997e(a)and,therefore,neednotsatisfytheexhaustionrequirementsofthisprovi
                                                                                                 sion.
 10Ray v, Mabr
             '
             y(556F2d881)-Workassi
                                 gnmentsthatamounttocruelandunusualpunishmentareforbidden.
                                                                10
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  89)lwasforced to workin condidonsthatviolated myconstitudonalrights.

  90)1wasfoxcedtoworkwhentlteheatindexexceeded90.

  91)Iwasforcedtowearheavypolyesterclothingwhentheheatindexexceeded90.

  92)Iwasnotprovidedwithaneleckicfanwhentheheatindexexceeded90.11

  93)Iwasforcedtoworkwhensick.

  94)1wasrefused themedicineFinisterideeven though itwasavailablein theprisonpharmacy andl
  had been taking the m edicinebeforearriving atFt. Dix.

  95)lhadavaliddoctor'sprescripdonforFinisteridewhenlarrivedatFt.Dix.
  96)AsaresultofbeingrefusedFirdsteridelsufferedpermanenthairloss.

  97)IwasdeniedAdmirtiskativeRemedyFormsby myunitstaff(andallotherBOPstafg whilein the
  SH U.12

  98)ThedenialofAdmirtistradveRemedyFormsisavioladon ofaninmate'sFirstAmendmentrightof
 accessto the courts.

 99)Certain Ft.Dix staffmembers,such asthechaplains,didnotvisitmy areaoftkeSHU in spiteof
 having signed the SHU log book.

 100)CertainBOPstaff,includingchaplains,arerequiredtomakeregularvisitstoinmatesintheSHU 13                             .




 101) Prevenhng chaplain visits is yet another example of US Govermnent's ongoing effort to
 intentionally inflictem otionaldistressupon the m e.

 102)W hileIwasintheSHU inthewinterdmetheheadngbrokeorwasturnedoff.

 103)Theheatwasinfactintendonallyturnedoffsoastoincreasemylevelofemodonaldiskess.

 104)lwassubjecttocoldtemperatureswithoutadequateclotlaingorcoldweatherbedding.l4


 11Gatesv. Cook(376F3d323)-l ftheheatindexreaches90 degreesorabove,thedefendantwilli
                                                                                   nsurethateachcellisequippedwi
                                                                                                               thafan. (Thi
                                                                                                                          s
 caseconcernsdeathrow inm ateswhopresum ablyIieontheirbunksintheirunderwearwhentheyarehot.)
 12Abneyv. McGinnis(380F3d6671-Defendantsmayalsobeestopped from rai
                                                                  singnon-exhausti
                                                                                 onasanaffi
                                                                                          rmati
                                                                                              vedefensewhenprisonoffici
                                                                                                                      als
 inhibitaninmate'sabi
                    litytoutilizegrievinceprocedures.
 13st.cl
       airev.cayler(634F2d 109)-Prohibitingprisonersi
                                                    nisol
                                                        ati
                                                          onorsegregati
                                                                      onfrom attendingchapelisunconstituti
                                                                                                         onal.

 14chandlerv. Baird(926F2d1cs7)-Aclaim ofexposuretocoldtemperaturesindisci
                                                                         plinarysegregationstatedaclaim forfelief.


                                                               11
Case 1:12-cv-22193-MGC Document 64 Entered on FLSD Docket 11/18/2013 Page 12 of 57


  105)WhileIwasintheSHU duringwarm weathertherewasacondnuousinsectirtfestadonproblem ls                                   .




  106)When irtforzhed oftheinsectproblem by many imnateson many occasionsthewardens, SH U
  supervisors,and otherstaffignored tlae problem .

  107)W hile1wasintheSHU noinsecticidewassprayedinthecells.

  108)WhileintheSHU lwasdenieddmelyaccesstomymail.

  109)W hen lcomplained aboutthe denialofdmely access to my mailto Ms.Brocia (spelling
  approximate),theFt.Dixstaffmemberin chargeofthemailroom,shesincerelypromisedtolookinto
  the m atter.

  110)GenerallyMs.BrociavisitedtlaeSHU togetherwiththewardenandltisotherseniorstaff                           .




  111)AfterthemailcomplaintMs.BrociaavoidedmyhallwayintheSHU.

  112)BOPstaffmemberswhoaremakinggeneralSHU visitsareobligatedtowalkbyeverycell                                       .




  113)MailthatIhadalreadyreceivedwastakenfrom me.

 114)Thesequesteredmailincludedmybooksandlegalpapers.

 115)1complained aboutthemailsequestradon tothewarden (CharlesSamuels-now BOP Director),
 assistantw ardens,and allotherstaffevery tim ethatIsaw them in the SH U .

 116)The illegalseizure and withholding ofmy mailisyetanotherexample ofUS Government's
 ongoing cam paign ofintendonally inflicting em otionaldiskess upon m e.

 117)lwasthreatened V tIAforced blood extraclion when Irefused to give blood forthepurposesof
 DN A teshng.

 118)TheDNA testingwasaresultofroutineBOPpolicyratherthanbeingcourtordered                              .




 119)Mandatedbloodremovalintheabsenceofacourtorderisaviola:onofaninmate'sconsdtutional
 rights.

 120)1eventuallychosetotrademybloodforthereturnofmybooks.

 121)One ofmy cellmates,surname Day,who isan undercoverFederalagent,threatened to stab a
 pencilin m y eye.

 122)On many occasionsfederalagentsposingasinmatesmadereferencetoinmatesbeingstabbed as
 w ellas to shanks being buried in the prison com pound. There w ere in factno incidents ofthis nature
 :5Antonelliv.sheahan(81F3d1422)-lnmatestatedEighthAmendmentclaim whereheallegedthattherewasapestcontrolproblem
                                                                                                                  .


                                                            12
Case 1:12-cv-22193-MGC Document 64 Entered on FLSD Docket 11/18/2013 Page 13 of 57


    that occurred during m y incarceradon at Ft. Dix. These stories are yet another exam ple of US
    Governm ent'songoing effortofintendonally inflicdng em odonaldisk
                                                                      essupon m e.

   123) During my last month at Ft.Dix I was seen by a BOP psychiatrist who prescribed m e
   anddepressantsto keatm y m entaldistress               .




   124)MyFederalprobation officerfoundmetobesufficiendymentallydisturbeduponmy release from
   prison thathe ordered m e to getpsyclaiatriccounseling.

   125)AsaresultoftheaboveoukageousconductandintendonalvioladonsofmyCortsdtazdonalrightsl
   suffered from severe em odonaldiskess throughoutm y incarceradon.

   126)InmanyinstancestheUS'sverymotiveforvioladngmyConsdtutionalrightswasforthe purpose
   ofintendonally causing m e em odonaldiskessso thatthey could observe the outcom e
                                                                                                                 .



   127)Bureau ofPrisonsemployeesarelaw enforcementofficersoftheUSGovermnentl6                                    .




  12
  th8)TheUSactedV :IIrecklessdisregardofmyhealthwltileallowing, insdgating,and/orencouraging
    eabovelisted illegaland/orunconsdtudonalconduct                      .




  129)AccordingtoR'heSecondRestatementofTorts:
            5284-Negligentconductmay be ... an actwhich theactorasareasonableman should recognize
            asinvolving an unreasonablerisk ofcausing an invasion ofan interestofanother.

  130)US Governmentwasnegligentin allowing any ofthesevioladonsofmy Conshtudonalrightsto
  occur.US G overm nentviolated itsduty ofcare to m e during m y incarceradon atFCIFt.Dix.17

                          Coun t8-N egligentSupervision ofEm ployees- US Governm ent
                            -   -     -   .   -




  131)IreallegeParagraphs27-73& 77-128.

 132)USGovernmenthadadutyofcarewith regard tohiring, training,and supervising its em ployees
 For the duty to applp firstitm ustbe foreseeable thatem ploy                                            .
                                                                 ees entrusted w ith specific duties and
 authority be properly trained and thatthe failure to do so could resultin hagm to others
                                                                                         . Second,i   fthe
 em ployerfailsto properly hire, train,orsupervise em ployees, itbreachesits duty to others
                                                                                            . Tltird,there
 mustbeacausalcolmectbnbetweentheconductandtheinjury                              .




 1628 Usc (2680- theprovisionsofthischapterandsection1346(b)ofthistitl  eshalapplytoanyclaim
 abuse ofprocess.Forthe purpose ofthissubsection                                              arising...outof...falseimprisonmentIor)
 empoweredbyl                                     , 'i
                                                     nvestigativeorlaw enforcementofficer'meansany officerofthe United Stateswho is
               aw toexecutesearches, toseizeevidence,ortomakearrestsforviolationsofFederaslaw
                                                                                              .


 18USc93050-Anofficerorempl
                          oyeeoftheBureauofPrisonsmay... makearrestsonoroffofBureauofPrisonsproperty
                                                                                                             .

 17Hoaglandv. Gomez(676A2d 187,290NJSuper550)-S   fordinancehasbeenenactedwhi    chimpo esdutyon'oneclassofpersonsforbenefitor
        onofanotherclassofpersons, breachofdutyestablished byordinance isevidence ofneglis
 protecti                                                                                genceinsuitbypersonw ithin proteded class
 whohasbeeni
           njuredbybreachofthatduty.

                                                                13
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   133)Clearlyhad theBureau ofPrisonsemployeesatFtDix been properly trained and supervised they
                                                         .

   w ould nothaveviolated m y Constitutionalrights.

                                Count9 - Abuse ofProcess- US Goverm nent

  134)1reallegeParagraphs27-73& 77-128.
  135)AccordingtoTheSecondRestatementofTorts:
         5682 - One who uses a legalprocess,whether crim inalor civil, agairstanother prim arily to
         accom plish a purpose for w hich itisnotdesigned, issubjectto l
                                                                       iability to the otherforharm
         caused by theabuseofprocess.

  136)In deliberately misusing the prison disciplinary processUS Governmentisguilty ofabuse of
  Process.18

                   Count10 - IntentionalInflicdon ofEm odonalHarm      -   US G overnm ent

  137)IreallegeParagraphs27-73& 77-128.

  138)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
         546- An actorwhoby extrem eand oukageousconductintendonally ... causessevere em otional
         harm toanotherissubjecttoliabilityforthatemotionalharm .




  139)Isufferedemodonalharm asaresultofUSGovernment'sac:ons            .




  140)Iftheintentionalvioladon ofaman'sConsdttztionalrightsandthecrimeoffalseimprisomnentdo
  notexceed therequirem entforexkem e and oukageous conductthen itisdifficultto know w hatsortof
  acdonsw ould m eetorexceed thatrequirem ent.

                                   Ctm nf11 -Assault- US Goverrunent

 141)IreallegeParagraphs117& 121.
 142)AccordingtoTheSecondRestatementofTorts:
        521An actorissubjecttoliabilitytoanotherforassaultifheactsintendingtocauseaharmfulor
        offensive contactwith theperson ofthe otherora third person, oran imminentapprehension of
        such contact,and theotheristhereby putin such im m inentapprehension.

 143)W henUSGovermnentthreatened toforciblyextractbloodfrom meand tostabapencilin my
 eye Iw asin apprehension ofsaid harm fulcontactw hich m akesUS Governm entguilty ofassault.

                        Count12 - Battery - US Goverm nent, PearlRiverCounty



 18N
   oexceptionunder28USC2680-Seenote15

                                                  14
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   144)Between September2007 and November2007 Iwas transferred f'
                                                                rom FortDix to PearlRiver
   County Jailin M ississippifor the purpose oftesdfying ata criminaltrial. W hile at the Pearl River
   County Jaillwasheld in an area ofcells which w asbeing used forthe kaining ofundercover1aw
   enforcem entofficers.US Governm entand PearllkiverCounty togethercom m itled the following acts:
         a)Putbacteriaintomyearwhen Iwassleepmg.
         b)DertiedmeEmely medicaltreatmentfortheresultingearinfection.AftertwoweeksIwaseventually given
         antibiotics.lsuffered agreatdealofpain w hilem y earw asinfected.
         c)One ofthe undercoverofficers,acdng underordersfrom hissuperiors,punched mein themouth and
         knocked oneofm yteethloose.
         d)One ofthe undercoverofficers,acdng underordersf'    rom hissuperiors, took my sleeping matand as a
         resultlhad to sleep on thebaresheetmetalofmy burtk forthreenights. Ireported thefactthatIhad no mat
         to the PearlRiverCounty correctionsofficerson num erousoccasions,butnoneofthem corrected theproblem .
         On one occasion when an imnate was leaving Iwentand grabbed hism atand putiton my bunk, butthe
         correctionsofficerthatwasescordng thatinmate outwould notallow me to keep tlàem atand took itoutof
         theuniteven though hecould clearly see thatdoingso would leavemewith no mat.
         e)Setoffateargascanisterin mycellareaforno obviousreason relatedtothenormaloperation ofthejail         .
         Thesolereason forusing thegaswasin factforcausingem odonaldistressto theindividualsin thatarea.
         f)Did notallow m eany recreation tim eduring my entire stay there. lnm atesare supposed to beallowed one
         hourofrecreadon dm eeach w eekday.

  145)Accordingto'IheSecondRestatementofTorts:
             513-An actorissubjecttoliability toanotherforbatteryifheactsintendingtocauseaharmful
             oroffensive contactw ith tlàeperson ofthe other.. . and aharm fulcontactw ith theperson ofthe
             otherdirectly orindirectly results.

  146)USGovernmentand PearlRiverCountycommittedbatlery when purposely infectingmy ear
  and when ordering oneoftheir'employeestoknock my t00th loose.

                      Count13 -N egligentConduct-US Goverm nent, PearlRiverCounty

  147)IreallegeParagraph144.

  148)AccordingtoTheSecondRestatementofTorts:
            0284 -Negligentconductmay be ...an actwhich theactorasareasonableman should recognize
            ashw olvihg an unreasonablerisk ofcausing an invasion ofan interestofanother.

  149)USGovermnentandPearlRiverCountywerenegligentin allowinganyofthesevioladonsofmy
  Consdttztionalrights to occur.US Governm entand Pearl River County violated their duty ofcare to
  m e.


                 Count14 - Reckless.Disregard ofSafety - US Governm ent, PearlRiverCounty         .




  150)1reallegeParagraph144.

  151)AccordingtoTheSecondRestatementofTorts:
            The actor's conduct is in reckless disregard of the safety of another if he does an act or
            intentionally failsto doan actwhich itishisduty to theotherto do' knowingorhaving reason to
            know offactswhich w ould lead a reasonablem an to realize, notonly thathisconductcreatesan
                                                         15
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            unreasonablerisk ofphysicalharm to another,butalso thatsuch riskissubstantially greaterthan
            thatwhich isnecessary toniakehisconductnegligent.

   152)US Governmentand PearlRiverCounty showed recklessdisregard form y safety in poisortingm e
   w ith bacteriaand then denying m etim ely m edicalcare.

            Count15 -N egligentSupervision ofEm ployees- US Governm ent,PearlRiverCounty

   153)1reallegeParagraph144.

   154)US Govermnentand PearlRiverCotmtyhad adutyofcarewithregard toltirinp knininp and
  supervising their em ployees. For the dtzty to apply, first it m ust be foreseeable that em ployees
  enkusted w ith specific duties and authority be properly trained and thatthe failure to do so could
  resultin harm to others.Second,ifthe em ployer fails to properly hire,kain,orsupervise em ployees, it
  breaches its duty to others.Third,there m ust be a causal colm ection between the conduct and the
  injury.

  155)Clearly had theUSGovernmentand PearlRiverCounty employeesatthePearlRiverCounty
  Jailbeen properly kained and supervised theywould nothaveviolated my Consdtudonalrights.

         Count16 -Intendonallnflicdon ofEm odonalH arm - US Governm ent, PearlRiverCounty

  156)1reallegeParagraph144.

  157)Accordingto'
                 l'heThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
          546- An actorwhoby extreme and outrageousconductintentionally ...causessevereem odonal
          harm toanotherissubjecttoliabilityforthatemotionalharm.

  158)1sufferedemodonalharm asaresultofUSGovernment'sandPearlRiverCounty'sacdons.

  159)lftheintentionalviolationofaman'sConstitudonalrightsandthecrimeofbatterydonotexceed
  the requirem ent for extrem e and outrageous conductthen itis difficultto know whatsortofacdorts
  w ould m eetorexceed thatrequirem ent.

                         Count17 - Conspiracy -US G overnm ent,PearlRiverCounty

  160)lreallegeParagraph144.

  161)Accordingto'IheSecondRestatementofTorts:
          5875 -Each of two or m ore persons whose torEous conductis a legalcause of a single and
         indivisibleharm totheinjured partyissubjecttoliabilitytotheinjuredpartyfortheentireharm.

  162)USGovernmentand PearlRiverCotmty acted in concertM t.
                                                          IAacommon design toharm mein
  theircom m ission ofCounts12-16.



                                                       16
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                             Count18 - Battery - US Governm ent, Grady County

  163)Onthewaybackfrom PearlRiverCountylwasheldbetweenNovember2007andJanuary2008in
  the Grady CountyJailin Oklahoma.Thehub fortheJusticePrisonerand Alien Transportad
  i                                                                         on System
  Gsin Okl
         ahom aCi
                ty and t
                       hereisalargeFederalja
                                           ilbui
                                               lton t
                                                    heedgeoftheOklahomaCi
                                                                        ty Airport. US
    overnm entseemsto use theGrady CountyJailasasortofannex to theirOklahom aCity facilityeven
  though it is an hour aw ay. The US uses the Grady County Jailprim arily to supportits undercover
                                    .

  operations since the urtitsizes there ofabout20 inm ates per urtitare farsm aller than the urtitsizesat
  their facility in Oklahom a City w ith over 100 inm ates per unit. Itthus requires far fewer undercover
  officersto take overa unit.

  164)Duringmy stay attheGradyCountyJailIwaspurposelyinfected withbacteriaontwooccasions
  The bacteria wasmostlikely injected undermy skin while 1wassleeping The first sign of each.
                                                                                     .
  infechon w as apim ple on m y upperlip. The pim ple then grew to severaltim es the size ofany natural
  occurring pim ple and disgorged large am ountsofpus for severaldays. Iasked the correcdons officers
  on m any occasionsto see a doctorand forantibiodcs, buteach tim e m y requestw asdenied.

  165)AccordingtoTheSecondRestatementofTorts:
         513-An actorissubjecttoliabilitytoanotherforbatteryifheactsintendingtocauseaharmful
         oroffensivecontactw ith theperson oftheother ... and a harm fulcontactw ith theperson ofthe
         otherdirectly orindirectlyresults.

  166)USGovernmentandGrady Countycommitted batterywhen purposelyinfectingmy facewith
  bacteria.

                     Count19 -N egligentConduct-US Governm ent, Grady County

 167)1reallegeParagraphs163-164.

 168)AccordingtoTheSecondRestatementofTorts:
        5284 -Negligentconductm ay be. .. an actw hich theactorasareasonablem an should recognize
        asinvolving an unreasonablerisk ofcausingan invasion ofaninterestofanother.

 169)US Govermnentand Grady County were negligentin allowing any oftheseviolahonsofmy
 Constitazdonalrightsto occur. US Goverm nentand G rady County violated theirduty ofcare to m e
                                                                                                         .



                Count20- Reckless Disregard ofSafety -US Govem m ent, Grady County

 170)1reallegeParagraph163-164.

 171)AccordingtoTheSecond Restatem entofTorts:
        The actor's conduct is in reckless disregard of the safety of another if he does an act or
        intentionally failsto do an actw hich itishisduty to theothertodo, know ing orhaving reason to
        know offactsw hich w ould lead a reasonable m an to realize, notonly thathisconductcreates an
        unreasonablerisk ofphysicalharm to another, butalso thatsuch risk issubstantially greaterthan
        thatwhich isnecessary tom akehisconductnegligent.

                                                     17
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  172)USGovernmentandGradyCountyshowedrecklessdisregardformysafetyinpoisoningmew1t14
  bacteria and then denying m e m edicalcare.

              Count21 -N egligentSupervision ofEm ployees- US Governm ent, Grady County

  173)IreallegeParagraphs163-164.

  174)US Governmentand Grady County had a duty ofcare with regard to hirinp kairting, and
  supervising their em ployees. For the duty to apply, first it m ust be foreseeable that em ployees
  enkusted w 1t14 specific duties and authority be properly trained and that the failure to do so could
  resultin harm to others.Second, ifthe em ployerfailsto properly hire, kain,orsuperviseem ployees,it
  breaches its duty to others. Third,there m ust be a causal cozm ecdon between the conductand the
  injury.

  175)Clearly had the US Governmentand Grady County employeesatthe Grady County Jailbeen
  properly kained and supervised they w ould nothave violated m y Constihltionalrights.

            Count22 -IntenhonalInflicdon ofEm odonalH arm       -
                                                                    US Governm ent,Grady County

  176)IreallegePatagraphs163-164.

  177)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
         946- An actorwho by extrem eand outrageousconductintentionally ... causes severe em otional
         harm toanotherissubjecttoliabilityforthatemodonalharm      .




  178)Isufferedemo:onalharm asaresultofUSGovernment'sand GradyCounty'sacdons                  .



  179)lftheintendonalviolation ofaman'sConsdtutionalrightsandthecrimeofbattery donotexceed
 the requirem ent for exkem e and oukageous conductthen itis difficult to know whatsortof actiorts
 w ould m eetorexceed thatrequirem ent.

                        Count23 -Conspiracy - US Goverrtm ent, Grady County

 180)1reallegeParagraphs163-164.

 181)AccordingtoR'heSecondRestatementofTorts:
        4875 - Each oftwo or more persons whose tordous conductis a legalcause of a single and
        indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm    .



 182)US Governmentand Grady County acted in concertwith a comm on desipato harm me in their
 com m ission ofCounts18-22.




                                                   18
Case 1:12-cv-22193-MGC Document 64 Entered on FLSD Docket 11/18/2013 Page 19 of 57


   Count24 - Batlery - US Governm ent,Riverside Park Com m unity LLC , Riverside Park Com m unity
             11LLC,U rban Am erican M anagem ent and Kings Realty & PropertiesLLC

  183)Since my release from Fe'
                              deralprison in June 2008 and condnuing through the presentUS
  Goverm nenthasacted in concertw ith individuals,corporations,and localgoverm nentsto com m ittorts
  againstm e.

  184)USGovenunenthasadministereddrugstomewithoutmyconsent.Tothisendtheyhavecovertly
  inkoduced pharm aceudcalgasses into the airw hen Iw as indoors and shotm e w ith a poison dartgun
  w hen 1w asoutdoors.

  185)Theaboveallegadondoesnotdefyrealityasweknow itand clearly doesnotfallintothecategory
  oftim etravelora trip to P1uto.19Forexam ple:
        a)Russian Spetsnaz forcesused pharmaceudcalgasses to end the siegeofa Moscow theaterby Chechen
        terroristsin 2002.The Russian governm entrefused to revealtheclassified com position ofthe gas. Obviously
        US Governm enthaseven m oresophisdcated capabilities.
        b)ln 1978,a ricin filled pellet probably fired from an apparatusconcealed by an umbrella,wasused to
        m urderBulgarian dissidentGeorgiM arkov in London. The apparatuswasprovided to theBulgariansby the
        Soviets.Itis reasonable to assum e thatthe Soviets w ould not have letthe Bulgarians have their new est
        equipm entso clearly this classified technology isnow over 50 years old. Ibelieve thatUS G overnm enthas
        m odern equivalents thatare sm aller and can be m ade to look like pens or Blackberries. The Blackberry
        cam ouflage could be especially convenientsince the screen com bined w ith a concealed cam era m ounted in
        parallelwith the barrelcould be used as a covertsighting system . Obviously aman si    ghting an objectby
        holding itup tohiseyew ould bequitesuspicious, butthereisnothing suspiciousaboutam an concentrating
        on aBlackberry screen.

  186) ln order install their gas distribudon apparams in my apare ent at 3333 Broadway US
  Governmentenlisted thehelp ofcodefendantsRiversidePark (propertyowner)and Urban American
  (propertymanager).ThesedefendantsallowedUSGovernmenttoplaceitsagentsin theirofficeacting
  as their em ployees.They also gave US Governm ent free access to m y apare ent, C23J,in the days
  before Im oved in;after lm oved in US Govem m ent illegally burgled m y hom e anyw ay. During the
  daysbefore 1m oved in US Governm entm oved m ost, ifnotall,ofthe existing tenantson floorC23 out
  and m oved their ow n people ip.US Governm ent conducted renovations to m y apare ent for the
  purpose ofinstalling theirgasdistribuuon system asw ellas a fiber-opdc video surveillance system . At
  no dm e did US Governm enthave a courtorderto conductsaid acdvides.

  187)On October23,2008IsentUrban American aregisteredletter(RA93167821617% todocumentand
  com plain about the issues from the preceding paragraph. Urban Am erican chose notto reply to m y
  letter.l am attaching a copy of that letter as an exhibit. In the letler l refer to a purported Urban
  Am erican em ployeenam ed N atalie M ills.Natalie M illsisin factan agentofthe US.

  188)RiversideParkand UrbanAmericanpurposely overbilled meforrent.They uldmatelyfixed their
  m istake outside N ew York City H ousing Court.W hile Iw asm ade whole w ith regard to therentm oney
  I did suffer em odonal distress as a result of the dispute. I sent Riverside Park a registered letter

  19A
    shcroftv.Iqbal,129S.Ct.1937,1959(2009)(Souter,J.,di
                                                      ssenting)

                                                                  19
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  (1:R908039903U% on November21,2009detailingtheproblem,butthey did notanswertheletterand
  took m e to court regardless.This dispute w as orcheskated by US G overnm ent for the purpose of
  causing m eem odbnaldiskess.

  189)W hile1wasliving in RiversidePark'sbuilding,oneofthe 'neighbors'thatUSGovernmenthad
  installed in conspiracy w ith Riverside Park and Urban Am erican,w ould regularly play exkem ely loud
  m usic atallhoursofthe day and nightw ith the intentofcausing m e em odonaldiskess and depriving
  m e ofthe quietuse ofm y apartm ent.

  190)US Government,with thehelp ofcodefendantKingsRealtp had also installed gasdiskibudon
  apparatus and a fiber optic video surveillance system in m y next apartment at 956 H ancock St,
  Brooklyn,N Y priorto m y arrivalthere.

  191)Thepoison dartgun withwhich Iwasrepeatedly shotleftno traceand madenosound.Thedevice
  operatespneum adcally and the dartitselfiscom posed ofcom pressed drugsw ithouta separate casing,
  thusnotleaving any kacesbehind underthe skin such asem pty ricin pellets.In any eventIhave never
  found a dart.The dart gun operates through heavy clothing and,w hen it is calibrated properly,is
  painless,in otherwordsitisgenerally notpossiblefora person to know thathehasbeen shot.

  192)OnnumerousoccasionsIwasshotwith dartswitilethegun waspurposely settoan excessively
  laigh m usselvelocity.The resultw asthatlfelta sting as ifIhad been stuck with a sm allneedle.This
  w as done to cause m e em o:onal diskess in addidon to that w hich w as caused by the drugs w ltich
  constituted the dart.

  193)Regardlessofwhetherthedartispainlessornotlgenerally doknow when lhavebeen shotor
  gassed howeverby the effects,w hich generally m ake m e sick.

  194) Regardless of whether the method of drugging is painless,the results ofthe druggings are
  generally notpairtless.The drugs generally cause at least one of the follow ing condidons:dysphoria
  (depression),akathisia,explosivediarrhea& intestinalcramps,insomnia,sleepinga11dap rapidweight
  gain(80lbsinfourmonthsl),inabilitytoeat,kidneystones,etc.

  195)In one instance US Goverm nentdrugged me so thatIwould be unable to attend a proba:on
  violation hearing in FederalCourt.Icalled my '
                                               lawyer'aboutthreehoursbeforethehearing to letftim
  know thatlwastoo sicktoattend,buteven sothejudgeissuedabench warrantforme.lwenttosee
  myprobadonofficerthefollowingweekandspentanafternoonsittinginajailcell.

  196)AccordingtoTheSecondRestatementofTorts:
         513-An actorissubjectto liabilitytoanotherforbatteryifheacfsintendingtocauseaharmful
         oroffensivecontactw ith theperson ofthe other...and aharm fulcontactw ith theperson ofthe
         otherdirectly orindirectlyresults.

  197)US Governmentand theotherdefendantslisted in thiscountcom mitted battery each dm ethat
  they adm inistered drugs to m e. Obviously whether via gas or dart each instance is a battery no
  different from that w hich would occur w hen a rapist adulterates a w om an'
                                                                             s drirtk w ith Rohipnol
  (roofies),GHB(lituidx),Ketamine,etc.
                                                    20
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       Count25 - RecldessDisregard ofSafety - US Governm ent, Riverside Park Com m unity LLC
                                                                                             ,
               Riverside Park Com m unity 11LLC, Urban Am erican M anagem ent, and
                                  KingsRealty & Properties LLC

  198)IreallegeParagraphs183-195.

  199)AccordingtoTheSecondRestatementofTorts:
         The actor's conduct is in reckless disregard of the safety of another if he does an act or
         intendonally failsto doan actw hich itishisduty totheothertodo, knowing orhaving reason to
         know offactswhich would lead areasonableman to realize, notonly thathisconductcreatesan
         unreasonablerisk ofphysicalharm to another, butalso thatsuch riskissubstandally greaterthan
         thatwhich isnecessary tom akehisconductnegligent.

  200)USGovernmentandtheotherdefendantslistedin tltiscounthaveshowed recklessdisregardfor
  m y safety each dm e thatthey drug m e.

   Count26 -Inkusion upon Seclusion -US Governm ent Riverside Park Com m unity LLC,Riverside
    Park Com m unity 11LLC,U rban A m erican M anagem ent, and KingsRealty & Properdes LLC

  201)1reallegeParagraphs183-195.

  202)AccordingtoTheSecondRestatementofTorts:
         56528 -Onewhointentionally intrudes, physically orotherwise,upon thesolitudeorseclusion of
         another orhis private affairs orconcerns, issubjectto l
                                                               iability to the otherforinvasion ofhis
         privacy,iftheintrusion would behighly offensiveto areasonableperson.

  203)USGovernmentand theotherdefendantslisted in thiscounttortiously irwaded my privacy
  each dm ethattheyused thesurveillanceequipm entto watch orlisten tom ein m y hom e.

  Count27 -Trespass -US G overm nent, Riverside Park Com m unity LLC Riverside Park Com m unit
            11LLC                                                    ,                        y         .
                  , Urban A m erican M anagem ent, and Kings Realty & PropertiesLLC

 204)1reallegeParagraphs183-195.

 205)AccordingtoTheSecondRestatementofTorts:
        9158-Oneissubjecttoliability toanotherfortrespass, irrespecdveofwhetherhethereby causes
        harm toany legally protected interestoftheotherifheintendonally entersland in thepossession
        oftheother.

 206)US Govemmentand theotherdefendantslisted in thiscounttrespassed each 6me thatthey
 burgled m y hom e.

  Count28 - IntentionalInfliction ofEm odonalHarm - US Goverrunent,Riverside Park Com m urtity
   LLC,Riverside Park Com m ulaity 11LLC , U rban Am erican M anagem ent, and KingsRealty &
                                             PropertiesLLC
                                                    21
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  207)1reallegeParagraphs183-195.

  208)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
            j46 -An actorwho by extreme and outrageousconductintentionally ...causessevereem otional
            harm toanotherissubjecttoliabilityforthatemotionalharm.

  209)Isufferedemotionalharm asaresultofUSGovernment'sandtheotherdefendants'actions.

  210)lfthecrimesofbatterp burglarp andvideovoyeurism donotexceedtherequirementforexkeme
  and outrageous conductthen itis difficult to know w hat sort of acdons would m eet or exceed that
  requirem ent.

         Count29 - Conspiracy -US G overm nent,Riverside Park Com m unity LLC,Riverside Park
         Com m unity 11LLC,Urban A m erican M anagem ent,and Kings Realty & PropertiesLLC

  211)IreallegeParagraphs183-195.

  212)AccordingtoTheSecondRestatementofTorts:
            0875 - Each of two or more persons whose tortious conductis a legalcause ofa single and
            indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm.

  213)The above named conspiratorsacted in concertwith a common design to harm me in their
  com m ission ofCounts24-28.

                       Count30 -IntendonalInflicdon ofEm cdonalH arm - US Governm ent

  214)When 1wasreleased from jailand wentback to the probadon officeto retrievemy propertp
  including m y housekeys,m y probadon officerw asabsentand so w ere m y m oney,ID,creditcards,and
  keys.The US Probaiion office intendonally deprived m e of these item s and in so doing caused m e
  em odonaldiskess.During m y required visits to theiroffice they w ould purposely harass m e in other
  w ays.Forexam ple,thesecurity guardsw ere told to m ake troubleform eatthe m etaldetector.20

  215)ln thesummerof2010my probadon officertold methatldidnotneed toseehim roudnely during
  m y m onthly visits.H e told m ethatIshould instead usetheirnew autom ated kiosk thatwould scan m y
  fingerprint and allow m e to fill outm y m onthly report via touchscreen.During the fallof2010 the
  security guardsharassed m e so badly atthe doorthat1had to leave w ithoutusing the kiosk.1em ailed
  m y probahon officer that1 w ould not be back undlhe w as there to supelvise the security guards.1
  neverheard back from him so Ineverw entback to reportalthough Idid see laim in courtin N ovem ber.
  In Decem berof2010 the courtterm inated m y probation six m onthsearly,butneverbothered to tellm e,
   thejudgegave meno indication thatshewasgoingto do so when Iwasin hercourtin Novem berand
   even denied m y requestfor internadonalkavel.l only found outby accidentoutthree m onths later.


   20IunderstandthatUS Probation mostl
                                     yIikel
                                          yinheri
                                                tsthecourt'simmunityfrom suitsi
                                                                              n performanceofi
                                                                                             tsjudicialduti
                                                                                                          es.Herelam suingfortorts
   thatwerecommi  ttedoutsi
                          dethescopeoftheirjudicialduti
                                                      esandthusIbelievethattheycanbesuedinthiscontext,justasajudgecanbesuedin
   thecontextofhisroleascourthouseadm inistralor.
                                            .
                                                                22
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   Obviously this w hole problem V tIZthe security guards w asstaged so thatIw ould fhink thatlw as on
  probadon w hen lw asnot.

  216)Accordingto'
                 I'
                  heThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
          946- An actorwhoby extrem e and outrageousconductintentionally .. . causessevereem otional
          harm toanotherissubjecttoliabilityforthatemotionalharm.

  217)Isufferedemotionaldistressasaresultofthisharassment.

                              Count31 - NegligentConduct- US Governm ent

  218)IreallegeParagraphs214-215.

  219)Accordingto'
                 fheSecondRestatementofTorts:
          9284- Negligentconductm ay be ...an actwhich theactorasa reasonableman should recognize
          asinvolvingan urtreasonablerisk ofcausingan invasion ofan interestofanother.

  220) US Govermhentwas negligentin notinforming me thatIw as no longer on proba:on. US
  Goverm nentviolated itsduty ofcareto m e.

                     Ctmnt32cNqgtigentSupervision ofEmployees-USGovernment
                       -




  221)IreallegeParagraphs214-215.

  222)USGovernmenthad adutyofcareV t.
                                    IAregard tohiring,training, and supervising itsem ployees          .
  For the duty to apply,firstit m ustbe foreseeable that em ployees enkusted w ith specific dudes and
  authority be properly trained and thatthe failure to do so could resultin harm to others. Second,ifthe
  em ployerfailsto properly ltire, train,orsupervise em ployees,itbreachesitsduty to others.
                                                                                             Third,there
  mustbeacausalcolmechonbetweentheconductandtheinjury.

 223)ClearlyhadtheUSGoverrtmentemployeesatUSProbadonbeenproperlytrainedandsupervised
 they w ould nothave w illfully harassed m e in thism anner.

                 Count33 -lntrusion upon Seclusion - US Governm ent, Ionathan Jacobs

 224)TheUSconspiredV t.
                      IAmydoctorandcodefendant,JonathanJacobs, so asto intendonally com m it
 m edicalm alpracticeby denying m e m edicalkeaknentforthecondidonslisted in Paragraph 194.

 225)In August2010Jonathan Jacobsrefused to prescribem eAm bien orLunestawhen Itold him that1
 could notsleep atnight.H e had prescribed m e Am bien during m y previous visit. W hen Ibegged and
 asked w hy he w as doing tltis to m e he replied ''I cannot not interfere in som ething that l do not
 understand.''
            *
 226)In Aujust2010Jonathan Jacobspromised thathewould keatmy insomnla and othermedical
                                                                                     .

 problem sbefore m y visit, butthenonceIwentto seehim hejustwanted totalkforan hourand refused
 to treatm y condihonsashehad prom ised.
                                                    23
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   227)JonathanJacobsallowed USGovernmenttoplacebothaudioand videosurveillancedevicesinl'tis
   office so thatUS Governm entcould observeus talking.

   228)Jonathan Jacobswasacdng in concertw1t14US Governmentforthepurpose ofevaluadng my
  em odonalhealth so thatUS G ovem m entcould fine hm e its continuing efforts to cause m e em odonal
  distress.

  229)AccordingtciTheSecondRestatementofTorts:
          56528 -Onewho intentionally intrudes,physicallyorotherwise, upon the solitude orseclusion of
          anotherorhisprivate affairsorconcerns,issubjectto liability to the otherforinvasion ofhis
          privacy,iftheintrusion w ould behighlyoffersiveto areasonableperson.

  230)USGovernmentand Jonathan Jacobsareguilty ofinvasion ofprivacy when they shared my
  m edicalrecordsand recorded m e when Iwasbeing treated by Jonathan Jacobsin hisoffice and
  w asentitled to privacy.

                         Count34 - Conspiracy -US Governm ent, Tonathan Iacobs

  231)1reallegeParagraphs224-228.
  232)Accordingto'
                 I'
                  heSecondRestatementofTorts:
         5875 -Each of two or m ore persons whose tordous conductis a legalcause of a single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm    .




  233)USGovermnentandJonathanJacobsactedinconcertwithacommon designtoharm meintheir
  com m ission ofCount33.

                                 Count35 - Conversion -US Goverm nent

  234)TheUSstolemymailcontainingdrugswhileitwasinthepossessionoftheUSPostOffice                    .



  235)TheUSsubsdtuted lowerdosecounterfeitdrugsforthedrugsthatlhad ordered from pharmacies
  outofstate and from England.

  236)TheUSsubsdtutedplacebosfordrugsthatIalreadyhadinmypossession

  237)AccordingtoTheSecondRestatementofTorts:
         4222A - Conversion is an intendonalexerckse of dom inion orcontrolover a chattelwhich so
         seriouslyinterfereswiththerightofanothertocontrolitthattheactormayjustly berequired to
         pay theothertheO IIvalueofthechattel.

  238)ln subsdtuting placebosfortl
                                 aedrugsin my possession and in the US MailUS Governmentis
  guilty ofconversion.



                                                     24
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                  Count36 - IntendonalInflicdon ofEm odonalH arm         -   US G overnm ent

   239)IreallegeParagraphs234-236.

  240)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
         546- An actorwho by extrem eand oukageousconductinten:onally ... causessevere em odonal
         harm toanotherissubjecttoliabilityforthatemohonalharm       .




  241)Isufferedemodonalharm asaresultofUSGovernment'sacdons              .




  242)First US Goverrunent poisoned me every day making me very sick. Then it stole the pain
  m edicadon that I w as forced to take as a direct result of its m aking m e sick. lf tam pering w ith
  prescripdon drugsdoes notqualify as outrageousconductitis difficultto know w hatconductw ould
  qualify.Indeed producttam pering isa seriousfelony underFederalLaw .

                     Count37 - Conversion -US G overnm ent, FederalExpressCorp.

  243)TheUSsubstitutedplacebosfordrugsthatwereshipped viaFederalExpressfrom an outofstate
  pharm acy thatIfound on the Internet. FederalExpress em ployees allowed US Governm entto tam per
  w ith m y package.

  244)AccordingtoTheSecondRestatementofTorts:
         9222A - Conversion is an intendonalexercise ofdom inion or controlover a chattelwhich so
         seriouslyinterfereswith therightofanothertocontrolitthattheactormayjustlyberequiredto
         pay theotherthefullvalueofthechattel.

  245)lnopeningmypackagewhileitwasin thepossessionofFederalExpressandsubsdtu:ngplacebos
  for the drugs which had been shipped to m e from an out of state pharm acy US G overm nent and
  FederalExpressCorp.are guilty ofconversion.

      Count38 -lntendonalInflicdon ofEm odonalH arm        -
                                                               US Governm ent,FederalExpressCorp.

 246)1reallegeParagraph243.

 247)AccordingtoTheThird Restatem entofTortsLiability forPhysicaland EmodonalHarm :
        946 -An actorwho by exkeme and outrageousconductintentionally .. . causes severe em otional
        harm toanotherissubjecttoliabilityforthatemotionalharm   .




 248)Isufferedemodonalharm asaresultofUSGovernment'sandFederalExpress'actions                  .



 249)Iftamperingwithprescripdondrugsdoesnotqualifyasoukageousconductitisdifficulttoknow
 w hatconductw ould qualify. lndeed producttam pering isa seriousfelony underFederalLaw .

                   Count39 - Conspiracy - US Goverm nent, FederalExpressCorp.

 250)lreallegeParagraph 243.
                                                   25
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   251.
      )AccordingtoTheSecondRestatementofTorts:
             0875 -Each of two or m ore persons whose tortious conduct is a legalcause ofa single and
             indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm .

   252)The above named conspiratorsacted in concertwith a common design to harm me in their
   com m ission ofCounts37-38.

             Count40 - Inkusion upon Seclusion - US Governm ent Colum bia University M edical

   253)In June orJuly of2009 1Fentto the emergency room atColumbia University MedicalCenter
  because 1had notbeen able to eatin overaw eek. The reason thatlhad notbeen able to eatw asa result
  ofUS Governm ent'sdrugging operauon. W hile lw asthere severalodd eventsoccurred.
      a)A psychiatricresidentinsistedonstickinghisfingerinmyass.
      b)Thelabclaimedthatoneofmybloodvialshadgonebadnecessitatingthattheytakemoreblood Theirtrue  .
      reason w asthatUSGovernm entw anted torun additionaltests.
      c)Theattendingdoctorinchargeoftheemergencyroom camearound toaskquesdonsaboutmytreatment           .
      Thisisnotanorm aloccurrence.
      d)A new internshowedupwhowastherejustforme.
      e)Thissameinternmadeabigshow abouthow thepahentnexttomewasgoingtogetsomemorphine.

  254)AccordingtoTheSecondRestatementofTorts:
         96528 -OnewhointenHonally intrudes,physically orotherwise,upon thesolitudeorseclusion of
         another orhisprivate affairs or concerns, issubj
                                                        ectto liability to theotherforinvasion ofhis
         privacp iftheintrusion would behighly offensivetoareasonableperson.

  255)In sharingmymedicalrecordsUSGovernmentandColumbiaUniversityMedicalareguiltyof
  invasion ofprivacy.

  Count41 -IntendonalInflichon ofEm otionalH arm - US Govermnent, Colum bia University M edical

  256)IreallegeParagraph253.

  257)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmohonalHarm:
         946- An actorwhoby extrem eand outrageousconductintentionally ... causes severe em ohonal
         harm toanotherissubjecttoliabilityforthatemotionalharm    .




  258)1suffered emodonalharm asaresultofUSGoverrtment'sand ColumbiaUniversity Medical's
  actions.

 259)lfperformingulmecessaryïnedicalproceduresand playingpsychologicalgameswithaman ina
 hospitalem etgency room does notqualify as oukageous conductitis difficultto know w hatconduct
 w ould qualify.

              Count42 - NegligentConduct- US Governm ent, Colum bia U niversity M edical

 260)1reallegeParagraph253.
                                                      26
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   261)AccordingtoTheSecondRestatementofTorts:
          9284- Negligentconductm ay be ...an actwhich the actorasa reasonablem an should recognize
          asinvolvingan urtreasonablerisk ofcausingan invasion ofaninterestofanother.

  262) US Government and Columbia University M edical were negligent when they performed
  unnecessary m edical procedures upon m e. US Goverm nent and Colum bia U niversity M edical
  violated theirduty ofcare to m e.

                 Count43 -Conspiracy -US Governm ent, Colum bia U niversity M edical

  263)1reallegeParagraph253.

  264)According toTheSecond Restatem entofTorts:
         5875 -Each of two or more persons whose tortious conductis a legal cause ofa single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheendreharm     .



  265)US Governmentand ColumbiaUniversity Medicalacted in concertwith acommon design to
  harm m ein theircom m ission ofCounts40-42.

        Count44 - lnkusion upon Seclusion - US Governm entwN ew York Presbyterian H ospital,
                                             Ioseph De1Pizzo

  266)lnJulyandAugustof2009Iwenttotheemergencyroom atNew YorkPresbyterianHospitalY ice
  for treaM ent of kidney stones; kidney stones that w ere a result of US G
                                                                            overnm ent's drugging
  operation. W hat happened at (NY H ospital on both occasions w as a repeat of m y experience at
  Colum bia.,including
     a)On my firstvisitthe doctor gave me an oxycodone prescription This w as done as the request ofUS
                                                                       .
     Govermnentso asto givem eaUS prescripdon thatwould help to keep m eoutoftroublewith theoxycodone
     thatIhad received from England. On m y second visita differentdoctorsaid 'W e dontprescribeoxycodone
     forkidney stones.''
     b)Onmysecond visitamalenursewasrudeandmadeabusivedemandsofme W hen Irefused to cooperate
                                                                                .

     and told him thatlwasjustgoingtolietlàereandwaitforthedoctor' he backed dow n and becam e conkite
     Thenursew asactingon behalfofUSG overnm ent.                                                      .

 267)In Augustof20091wentto seeJoseph De1Pizzo,aurologistemployed by New York Presbyterian
 H ospitalto w hom 1wasreferred by theem ergency room doctor. A gain itw asevidentto m e thathe had
 been conspiring w ith US Governm entbased in parton thefollow ing events.
    a)TherewasaFederalagentinhispersonalofficewhenIwasthere        .

    b)Hemailedmeaprescriptiontwomonthslaterwithnoexplanationwhatsoever          .

    c)W henIcalledabouttheprescriptionthewomanwhoansweredhisphonemadeoddcommentsthus
    m aking itobviousthatshew asan agentofUS Governm ent.

 268)AccordingtoTheSecondRestatementofTorts:
        96528 -Onewhointentionally intrudes,physically orotherwise, upon thesolitudeorseclusion of
        another orhisprivate affairs or concerns, issubjectto liability to theotherforinvasion ofhis
        privacy,iftheintrusion w ould behighly offensivetoareasonableperson.

                                                    27
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   269)In sharingmymedicalrecordsUSGovernment,New York Presbyterian Hospital, and Joseph
   D
    e1Pizzo are guilty ofinvasion ofprivacy.

      Count45 - IntentionalInflicdon ofEm ouonalHarm      US Governm ent,N ew York Presbyterian
                                                           -


                                        H ospital,Ioseph De1Pizzo

  270)lreallegeParagraphs266-26.
                               7.

  271)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
          j46 -An actorwho by exkeme and outrageousconductintentionally ... causes severe em otional
          harm toanotherissubjecttoliabilityforthatemohonalharm    .




  272)Isuffered em ohonalharm as aresultofUS Governm ent/s, N ew York Presbyterian H ospital/s,
  and Joseph De1Pizzo'sacdons.

  273)Ifplaying psychologicalgameswith a man with respecttol'
                                                            tismedicalkeatmentdoesnotqualify
  asoukageousconductitisdifficultto know w hatconductw ould qualify.

      Count46 -Conspiracy -US Governm ent, New York Presbyterian H ospital, Joseph DelPizzo

  274)1reallegePararaphs266-267.

  275)AccordingtoTheSecondRestatementofTorts:
         5875 - Each oftwo or more persons whose tortious conductis a legalcause ofa single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm   .



  276)USGovernment,New YorkPresbyterianHospital,andJosephDe1Pizzoactedin concertwitha
  com m on design to harm m ein theircom m ission ofCounts44-45.

                           Count47 - Battery -US Governm ent, New YorkCiW

 277)In Octoberof2009USGovernment,itsagentTaraTamang, and New York City had m e arrested
 forstalking and otherm isdem eanors.
     a)TaraTamangisaFederallaw enforcementofficer.
     b)Tarawasmysleep-overgirlfriend onandoffforoverayear      .

     c)Tarasworeoutafalsecomplaintagainstme.
     d)TaramadehercomplaintaspartofherjobdutiesforUSGoverrt
                                                          m ent        .
     f)Thearresting officerknew thathedid nothaveprobably cause tomakethearrestatthetim ethathedid so.
     H erefused totellm ew hatIw aschargedw ith w hen hearrested m e. Heirtstead gavem eavagueansw erthat
     thechargewasdomesdcviolencerelated, H ethen told m enottow orl'yand thatlw ould bearraigned and
     released thatsam e day.
     g)New YorkCitypurposelydelayedmyarraignmentuntil24hoursafterlwasarrested       .
     h)Onirtstructionsfrom USGovernmentthearrestingofficermadeupafalsequotadonfrom methatwasread
     atmy arraignment.
     i)Thechargeswerebaselessandwereeventuallydismissedattherequestoftheprosecutor      .




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   278)USGovernment,itsagentTaraTamang,andtheNew YorkCityprosecutedme                    .
       a)TheprosecutorwasinregularcommunicadonwiththeUSAttorneyfsoffice        .

       b)Theprosecutorplayedagamewith theintentofdenyingmemyrighttoaspeedytrialEvery tim ethatw e
                                                                                         .
       w ould show up in courthewould claim thathewasnotready fortrial. Then afew dayslaterhew ould file
       papersfalsely claiming thathenow wasin factready fortrial. Sincethespeedy trialclock onlyrunsbetween
       thedmewhen hewasnotready fortrialand when hewasready fortrialhewasableto manipulatethe60day
       lim itm andated by theNew YorkStatespeedy trial1aw to instead last overoneyear.
       c)Thechargeswerebaselessandwereeventuallydismissedattherequestoftheprosecutor         .
       d)Theprosecutorknew thechargestobebaselessandwithoutprobablecauseatthetimehewasprosecuting
      m e.


   279)Iwasinjailforpartsoffourdays.Bylaw each partofadaycountsasawholeday soofficially I
   wasinjailforfourdays.In factIwastherefortwo andhalfdays, m easured hourly.For the firsttwo
  days ofthat tim e I w as put in various holding cells and dm gged c
                                                                     ondnuously by undercover law
  enforcem entofficers so that lcould not sleep ata11for any ofthatdm e.I believe that they used the
  poison dartgun since 1never caughtanyone doing it. For the lastfew hours Iw asin a cellalone and
  w asgassed.W hatevergasthatitw ascaused m eexkem e pain.

  280)When 1bangedonthecelldoorandpressed theintercom buttontheguardwhowassitdng             nearby
  refused to com e atall. The guard had been inskucted to ignore m e.
                                                                      One m ightassum e thata guard
  w ould stop com ing afterafew tim es, butthisguard did notcom eatall    .



  281)Thegasdeliveryapparatuswasoperated andinstalledin thejailcellbyUSGovernmentwiththe
  cooperadon ofN ew York City.N ew York City w asfully aw are ofw hatUS G overnm entw as doing.

  282)AccordingtoR'
                  heSecondRestatementofTorts:
         513-Anactorissubjecttoliabilitytoanotherforbatteryifheactsintending tocauseaharm ful
         oroffensivecontactwith tI:P person oftheother ... and a harm fulcontactwith theperson ofthe
         otherdirectly orindirectlyresults.

  283)USGovernmentandNew YorkCitycommitted battery eachtimethatthey administered drugs
  to m e.Obviously w hethervia gas ordarteach instance is a battery no differentfrom thatw hich w ould
  occurwhenarapistadulteratesawoman'sdrinkwithRohipnol(roofies), GHB (liquidx),Ketamine,etc.

                      Count48 -Abuse ofProcess-US Governm ent, N ew York City

 284)1reallegeParagraphs277-281.
 285)AccordingtoTheSecondRestatementofTorts:
         5682 - One who uses a legalprocess,whether criminalor civil, againstanother primarily to
         accom plish a purpose forwhich itis notdesigned,
                                                          issubjectto liability to theotherforharm
         caused by theabuseofprocess.

 286)Inhavingmearrestedandprosecuted foracrimewlaichthey knew neveroccurredforreasonsnot
 related to thatcrim e US Governm entand N ew York City are guilty ofabuse ofprocess
                                                                                         .




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                     Count49 -False lm prisonm ent-US Goverm nent, N ew York City

  287)IreallegeParagraphs277-281.

  288)AccordingtoTheSecondRestatementofTorts:
         j35 -An actoris subjectto liability to anotherforfalse imprisonmentifheactsintending to
         confine the otheror a third party w ithin boundarieshxed by the actor, and his actdirectly or
         indirectly results in such a confinem ent of the other, and the other is conscious of the
         confinem entorisharmed by it.

  289)ln falsely arresdng and imprisoning me USGovermnentand New York City areguilty offalse
  im prisonm ent.

          Count50 - lntentionalInflicdon ofEm odonalH arm - US Governm ent N ew York City

  290)IreallegeParagraphs277-281.

  291)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
         946-An actorwhoby extrem eand outrageousconductintendonally ... causessevere em otional
         harm toanotherissubjecttoliabilityforthatemodonalharm.

  292)Isufferedemodonalharm asaresultofUSGovernment'sandNew YorkCity'sacdons                     .




  293)Ifrepeatedly drugging and torturingaman whilehisisin thedefendants'custody doesnotqualify
  asoutrageousconductitis difficultto know whatconductw ould qualify.

                    Count51 - N egligentConduct-US Goverm nent N ew York City

  294)1reallegeParagraphs277-281.
  295)AccordingtoTheSecondRestatementofTorts:
        9284- Negligentconductm ay be ...an actwhich the actorasa reasonablem an should recognize
        asinvolvingan unreasonablerisk ofcausingan invasion ofan interestofanother.

 296)USGovermnentand New YorkCitywerenegligentwhen they drugged and tortured mewhile1
 w asin theircustody.US Goverm nentand New York Cit.y violated theirduty ofcare to m e.

               Count52 - RecklessDisregard ofSafety - US Govem m ent New York City

 297)lreallegeParagraphs277-281.

 298)AccordingtoTheSecondRestatementofTorts:
        The actor's conduct is in reckless disregard of the safety of another if he does an act or
                                                                                .

        intentionally failstodo an actwhich itishisduty to the otherto do,knowing orhavingreason to
        know offactswhich would lead a reasonablem an to realize, notonly thathisconductcreatesan
        unreasonablerisk ofphysicalharm toanother, butalso thatsuch risk is substanlrially greaterthan
        thatwhich Lsnecessaryto makehisconductnegligent.
                                                     30
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   299)USGovermnentand New York Cityshowed recldessdisregard formy safety in drugging and
   torm ring m e while 1wasin theircustody.

             Count53 - NegligentSupervision ofEm ployees- US Governm ent, N ew York City

  300)IreallegeParagraphs277-281.

  301) US Governmentand New York City had a duty ofcare with regard to hiring, training, and
  supervising their em ployees. For the duty to applp first it m ust be foreseeable that em ployees
  enkusted %4t14 specific dudes and authority be properly kained and that the failure to do so could
  resultin harm to others. Second,ifthe em ployerfailsto properly hire
                                                                      , trai
                                                                           n,orsupervise em ployees,it
  breaches its duty to others. Tlqird,there m ust be a causalcoxm ecdon between the conduct and the
  injury.

  302)Clearly had the US Governmentand New York City em ployeeswho were responsibleforthese
  ac:onsbeen properly kained and supervised they w ould nothave willfully harm ed m ein thism alm er.

                         Count54 - Conspiracy -US Governm ent New York City

  303)lreallegeParagraphs277-281.

  304)AccordingtoTheSecondRestatementofTorts:
         5875 -Each oftwo or more persons whose tortious conductis a legalcause of a single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm .

  305)USGovernmentand New YorkCity acted inconcertwithacommon designtoharm meintheir
  com m ission ofCounts47-53.

                    Count55 -False Im prisonm ent-US Governm ent, New York City

 306)lnJanuaryof2010New YorkCityinconspiracywithUSGoverrtmentfalselyarrestedme                    .

     a)Thechargewasforvandalism towiresirksidemyapartment      .

     b)lwasarrestedinsidemyapartmentwithoutanarrestwarrant         .

     c)Thearrestingofficerbangedonmydoorforalongtimeandpromisedmethathewouldbreakitdown
     unlessI1ethim in.UnderduressIdid 1ethim in. H ehad no w arrant.
    d)Thearrestingofficerknew thechargetobewithoutprobablecauseatthedmeofthearrest.
    e)Theprosecutorrefusedtohavemearraignedsincethechargeswerebaseless        .

    1)New YorkCitypurposelydelayedmyreleasetmdl24hoursafterIwasarrested.
    g)At5AM myselfand theundercovercopswhowerewith mein theholdingcellswerebroughtup from the
    relatively warm and spaciouscellsin the courthousebasement wherewehad been sl
                                                                                     eeping,to sitin the cold
    and cram ped celloutsidethecourtroom , whereitisim possibleto sleep. Thereason thatitwascold isbecause
    they do notturn on the heatuntil8AM since no one is supposed to be there w hen courtis not in session
    Courtstartsat9:30AM .                                                                                   .




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   307)AccordingtoTheSecondRestatementofTorts:
          535 -An actoris subjectto liability to anotherforfalse imprisonmentifheactsintending to
          confine thé other ora third party w ithin boundaries fixed by the actor and his actdirectly or
                                                                                 ,
          indirectly results in such a confinem ent of the other' and the other is conscious of the
          consnem entorisharm ed by it.

  308)ln falsely arresting and imprisoning meUS Govem mentand New York City are guilty offalse
  im prisonm ent.

           Count56 - IntendonalInflicdon ofEm odonalHarm          -   US Governm ent,New York City

  309)lreallegeParagraph306.

  310)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
         546 -An actorwho by extreme and outrageousconductintentionally ... causes severe em otional
         h
           arm toanotherissubjecttoliabilityforthatemotionalharm      .




  311)lsufferedemodonalharm asaresultofUSGovernment'sandNew YorkCity'sacdons                     .



  312)Iffalsely arresdng a man doesnotqualify asoukageousconductitisdiffkultto know what
  conductw ould qualify.

                         Count57 -Conspiracy -US Goverrtm ent, New York City

  313)IreallegeParagraph306.

  314)AccordingtoTheSecondRestatementofTorts:
         5875 -Each of two or m ore persons whose tortious conductis a legalcause of a single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm      .



 315)USGovernmentand New YorkCity acted inconcertwithacommondesigntoharm meintheir
 com m ission ofCounts55-56.

        Count58 -Fraud -US Governm ent, IAc/lnteracdvecorp,el-larmony.com ,Facebook.com

 316) US Government acted in concert with Internetbusinesses lAc/lnteracdvecorp (owner of
 Match.com),el-larmony.com,and Facebook.com so asto defraud me from receivinghonestservi
 from them .
 G
             The US cohspired w ith these com panies to alter their com puter software so asto allow ces
                                                                                                     US
   overrtm ent to covertly m anipulate the data, confidendal and otherw ise, exchanged between their
 subscribers.The resultwasthatw1t14regard toIAc/lnteracdvecorp and el-
                                                                     larm ony com Iw asunable
                                                                                         .
 to com m unicatew ith any norm alsubscribersand w asinstead putinto com m unicadon exclusively w ith
 agentsofUS G overnm ent.W ith regard to Facebook.com ,US Governm entisable to covertly m anipulate
 m y interacuonsw ith Facebook.com .

 317)AccordingtoTheSecond RestatementofTorts:
        9525-Onewho fraudulently makesa misrepresentation offact, opinion,intention,orlaw forthe
        purpose of inducing another to actorto refrain from action in reliance upon it i
                                                                                       ssubjectto
                                                   32
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          liability totheotherindeceitforpecuniarylosscausedtohim byhisjusdfiablerelianceuponthe
          m isrepresentadon.

  318)Rule9(b):
      (1)When lsignedupforthesecompanies'servicestheypromisedthatthey would dealhonestlywithmeand
      notblockoreditcommunicationsfrom othersubscribersoruserswithouttheirconsent.
      (2)Thesecompaniesknew atthetimethattheywerenotdeliveringproperservicetome.
      (3)UndlrecentlylhadnoideathatIhadbeenlied toand trickedbythem.
      (4)Inmakingtheirfalsepromisestometheyhadeveryintentionthat1shouldactuponthem.
      (5)ldidinfactusetheirservicesandtheyscrewedme.

  319)W hen IpaidtosubscribetoMatchand el-larmonyandcreatedanaccountatFacebooklhadevery
  expectadon that they w ould provide their services in a honest m alm er. This is not in fact w hat
  happened.Iw asdefrauded.

       Count59-lntendonalInflicdon ofEm otionalHarm -USGovernmentIAc/lnteracdvecorp,
                                      el-larm ony.com ,Facebook.com

  320)1reallegeParagraph 316.

  321)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmotionalHarm:
          946- An actorwhoby extremeand outrageousconductintendonally ... causessevere em otional
         harm toanotherissubjecttoliabilityforthatemotionalharm.

  322) l suffered emodonal harm as a result of                  Government's, IAc/lnteracdvecorp's,
  el-larm ony.com 's, and Facebook.com 's actions.

  323)Thisconductcertairtlyseemsoutrageoustome.

      Count60-Conspiracy-USùovermnent,lAc/lnteractivecorp,eHarmony com ,Facebook.com
                                                                               .




  324)IreallegeParagraph316.

  325)AccordingtoTheSecondRestatementofTorts:
         5875 - Each of two or more persons whose tortious conductis a legalcause ofa single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheendreharm.

  326)USGovernment,lAc/lnteracdvecorp,el-larmony.com,andFacebook.com acted inconcertwitha
  com m on design to harm m e in theircom m ission ofCounts58-59.

                        Count61 -Fraud -US Goverm nent,AppleInc.,AT&T Inc.

  327)TheUSconspiredwithAppleandAT&Ttodevelopthecapabilitytocovertlyaccessandalterdata
 stored on iphones.The US in concert w ith Apple and AT&T without a court order did access and
 change datastored on m y iphone.



                                                     33
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  328)W hen 1boughtmy iphoneIexpectedthatthedataIhad stored on my phonewould suy on my
  phone and be safefrom alteradon. Apple and AT&T had a duty to disclose to theircustom ersthatthey
  had intendonally inserted thiscapability into theiphone firm w are.

  329)AccordingtoTheSecondRestatementofTorts:
         5525 -One who fraudulently m akesa misrepresentahon offact, opinion,intendon,orlaw forthe
         purpose ofinducing another to actor to refrain h'om action in reliance upon it
         li                                                                        ,issubjectto
          abilitytotheotherindeceitforpecuniarylosscausedtohim byhisjustifiablerelianceuponthe
         m isrepresentadon.

  330)Rule9(b):
     (1)W henlsignedupforthesecompanies'servicestheypromisedthattheywoulddealhonestlywithmeand
     notspy on me orbreak into my iphone.
     (2)Thesecompaniesknew atthetimethatthey,attherequestofUSGovernment, had given thernselvesthe
     ability tobreakintotheircustom ers'phones.
     (3)Untilrecentlylhadnoideathat1hadbeenliedtoandtrickedbythem .
     (4)Inmakingtheirfalsepromisestometheyhadeveryintentionthatlshouldactuponthem .
     (5)Ididinfactusetheirproductand/orservicesand theyscrewedme.

  331)W hen 1boughtmy iphone from Apple and signed a conkactw1t11AT&T Idid so on the
  assum pdon thatthey and US Governm entw ould notbe spying on m e via m y phone orchanging the
  data stored on m y phone,buttltisisin factexactly w hathappened. lw asdefrauded.

      Count62 -Intenhonallnflicdon ofEm o:onalH arm - US Governm ent, AppleInc.,AT&T Inc.

  332)lreallegeParagraphs327-328.

  333)Accordingto'
                 I'
                  heThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
        946 -An actorwho by extreme and outzugeousconductintendonally ... causes severe em odonal
        harm toanotherissubjecttoliabilityforthatemotionalharm   .




 334)1sufferedemotionalharm asaresultofUSGovernment's,Applelnc's,and AT&T lnc.'sacdons
                                                                          .                          .




 335)Thisconductcertainlyseemsoukageoustome.
             Count63 - lntrusion'upon Seclusion - US Goverlunent, Apple Inc.,AT&T Inc.

 336)IreallegeParavaphs327-328.

 337)AccordingtoTheSecondRestatementofTorts:
        96528 -Onewho intentionally intrudes,physicallyorotherwise, upon thesolitudeorseclusion of
        another orhis private affairsor concerns, issubjecttoliabili
                                                                   tytotheotherforinvasion ofhis
        privacy,iftheintrusion would behighly offensivetoa reasonableperson.

 338)ln accessingmypersonaldatastored on myphoneUSGovernment, Apple Inc.,and A T&T Inc.
 are guilty ofinvasion ofprivacy.


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                       Count64 - Conspiracy -US Goverm nent Apple Inc., AT&T Inc.

   339)IreallegeParagraphs327-328.

   340)AccordingtoTheSecondRestatementofTorts:
          5875 -Each oftwo or m ore persons whose tortious conduct is a legalcause ofa single and
          indivisibleharm tothehjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm .

   3
   th41)USGovernment,AppleInc.,andAT&T Inc.actedinconcertwithacommondesigntoharm m e in
      eircom m ission ofCounts61-63 .




               Count65 - Intendon'
                                 allnflicdon ofEm odonalH arm          -
                                                                           US Governm ent,Directv

  3i42)The US conspired with Directv forthe purpose ofsabotaging my Directv receiver. W hile Iw as
  l
    ving at956 H ancock Skeetthe receiverw ould resetitselfgenerally every twelve hours w hich 1ed to a
  fifteen m inute blackouteach dm e. Thisproblem w enton form onths
                                                                    . Icom plained to Directv custom er
  service and w as told a pack oflies. W hatin factw as happening is thatUS Governm entand Direct
                                                                                                      v
  purposely caused thesefailuresforthe purpose ofcausing m e em otionaldi         skess.

  343)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHa
         946- An actorwhoby extremeand outrageousconductintendonally                             rm :
         h                                                           ...         causes severe em otional
           arm toanotherissubjecttoliabilityforthatemotionalharm   .



  344)Isufferedemodonalharm asaresultofUSGovernment'sandDirectv'sachons                    .



  345)Thisconductcertainlyseemsoukageoustome         .




                            Count66 -Conspiracy -US Governm ent, Directv

  346)1reallegeParagraph342.

  347)AccordingtoTheSecondRestatementofTorts:
         4875 - Each of two or m ore persons whose tordous conductis a legalcause ofa single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm .

 348)US Governmentand Directv acted in concertwith a common design to harm m e in their
 com m ission ofCount65.

          Count67-Fraud -US G overnm ent, FederalExpressCorp., United ParcelO rvice,Inc
                                                                                       .



 349)FederalExpressCorp.and UnitedParcelService, lnc.allow ed US Governm entto insertits agents
 as em ployees ofFederalExpress Corp. and United ParcelService, lnc.Som e oftheir em ployees w ho
 werein factworking forUSGovermnentwentoutoftheirway notto delivertheservices to m e for
 w laich I had contracted with their em ployers. For exam ple,packages w ere stolen
                                                                                    , tam pered w i
                                                                                                  th,
 returned to sender,etc;deliverym en w erepurposely rude, refused to bring packagesto m y door
                                                                                                        , et
                                                                                                           c.


                                                   35
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  350)AccordingtoTheSecondRestatementofTorts:
          5525-Onewhofraudulentl#makesamisrepresentadon offact, opinion,intendon,orlaw forthe
          purpose of inducing another to actor to refrain from acdon in reliance upon it,
          li                                                                              is subjectto
           abilitytotheotherin deceitforpecuniarylosscaused tohim byhisjusdfiablerelianceupon the
          m isrepresentation.

  351)Rule99$:
      (1)W hen Iconkacted forthesecompanies'servicesthey promised thatthey would delivermy goodsto the
      bestoftheirabili:es.
      (2)Thesecompaniesknew atthedmethattheywouldirtsteadbeplayingtricksonme          .
      (3)UntilrecentiyIhadnoideathatIhadbeenliedtoandtrickedbythem        .

      (4)InmakingtheirfalsepromisestometheyhadeveryintenHonthatIshouldactupon them          .
      (5)Ididinfactusetheirservicesandtheyscrewedme      .




  352)WhenIboughtmerchandiseandpaidtohaveitsltippedtomeviaFederalExpressCorp. orUnited
  ParcelService,lnc. Idid so on the assum pdon thatthese com panies would m ake an honesteffo
                                                                                                 rt to
  provide theirservices to the bestoftheirabilides. lndeed these com panieshave the reputadon ofbeing
  extrem ely w ellm anaged and w ellthoughtofby theircustom ers. Instead Iw asdefrauded.

      Count68 - lntenHonalInflicdon ofEm odonalH arm        US Governm ent FederalExpressCorp.,
                                                             -


                                         United ParcelService,lnc.

  353)1reallegeParagraph349.

  354)Accordingto'
                 l'heThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
         946- An actorwhoby extremeand oukageousconductintentionally ... causes severe em odonal
         harm toanotherissubjecttoliabilityforthatemotionalharm  .




 355)lsuffered emotionalharm asaresultofUS Governmenfs, FederalExpress Corpls,and United
 ParcelService,lnc.'sacdons.

 356)Thisconductcertainlyseemsoukageoustome.
           Count69 - Conspiracy -US Governm ent US Goverm nent, FederalExpressCorp.,
                                  .

                                   United ParcelService,Inc.

 357)IreallegeParagraph349.
 358)Accordingto'I'
                  heSecondRestatementofTorts:
       5875 -Eacà oftwo ormore persons whose tordousconductisa legalcause ofa single and
        indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheendreharm     .



 359)US Government,FederalExpressCorp.,and United ParcelService, Inc.acted in concertw 1t14 a
 com m on design to harm m ein theircom m ission ofCounts67-68.



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                                     Count70 - Defam ation -US Goverlm wnt

   360)USGovernmentanditsemployee,TaraTamangwith maliceintendonally defam ed m e.Tara sent
   atleastseventeen em ailsto BeatriceGuthrie, my m other,intentionally and falsely claim ing that1w as:
      a)mentallyi11generally-'They(amanagerandaworker)IofNew YorkCityAdultProte
      thatyourson ism entally111and adangertohirnself                                ctiveServiceslthink
                                                     ''IAPSdidin factvisitmyapare entandinterview me
                                                          .
      APSfound thattherew asnoevidenceofm entalillness                                                .

      b)                                                 )    .


      h
        sufferingfrom memoryloss-J'Randy' smemoryisseriouslyfadingtothepointwhereitisnodceable.H eis
       avingdifficultyrecallingeventsthatoccurred w ithin thelastfew m onths.'
      c)sufferingfrom depression-'heisseverely depressed''
      d)sufferingfrom schizophrenia-''
                                     soundslikeaseverecaseofschizophreniatomethatisgetting worse''
      e)usingmind alteringdrugs-''hehasstartedselfmedicadnghimselfwithsomething
      hiscondidon isworsethan itwasafew weeksago                                 very strong orperhaps
                                                . Iam afraid thathecould incurperm anentbrain dam age'
                                                                                                     '
      f)suicidal-''
                  Hehasmendoned thathefeelslikehewantstocommitsuicide''

  361)Tara on inskucdonsfrom US Governmentcontacted my motherboth viatelephone and em ail
  claim ing fhatshe w asm y friend and w as very concem ed aboutm
                                                                   e and m y m entalhealth. Tara begged
  m y m otherto notrevealTara'sallegadonsto m e lestlbreak up w ith her in which case Tar    a w ould no
  longerbe able to furnish her w ith inform adon aboutm e.M any ofthese m alicious lies occurred w hile
  m y m other w asoutside ofthe US and did nothave an easy w
                                                               ay to personally check on m e. W hen m y
  m otherand 1w ere able to m eetin person atthebegizm ing ofO ctober2009 m y m otherthen realized that
  she had been duped.

  362)Tara senttheemailswith maliciousintent The content of Tara's em ails is so oukageous and
                                                     .

  atrociousasto kuly kanscend allbounds ofdecency.

  3
  li63
    b )According to The FirstRestatementofTorts:(someoneremoved theSecond from the Court's
     rary)
        5559-A comm unication isdefamatoryifittendsso to harm thereputadon ofanotherasto low er
        h
         im in theestimation ofthecomm urtity ortodeterthird personsf
        h                                                           rom associatingordealingw ith
            im .


  364)USGovernmentintentionallydefamedmewhenitwrotethecontentsofParagraph 360.

                     Count71 -Intendonallnflicdon ofEm odonalH arm      -   US Governm ent

 365)IreallegeParagraphs360-362.

 366)According to '
       546        I'
                   heThird RestatementofTortsLiability forPhysicaland EmotionalH arm :
             -
                 An actorwho by extrem eand oukageousconductintentionall
        h                                                              y ...causessevere em otional
         arm toanotherissubjecttoliabilityforthatemotionalharm    .




 367)By intendonally damaging m y reladonship with my motherUS Governm entintendonally caused
 m e severeem otionalharm .

 368)Thisconductcertainlyseemsoukageousto me          .




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    Count72 - IntendonallnterferenceV tIAPerform ance ofConkactby Third Person - US Governm ent
                                            .




   369)lnJanuaryof2011lfiledcaseSDNY 11CV 0211againstasubsetofthedefendantsinthiscase.In
  M arch of 2011 the court dism issed the case before any of the defendants had even answ ered the
  com plaint.

  370)TheCourtseemstohavepurposelyarranged foritsdecision tobeoverttlrnedon appealsincethe
  Courtlibeled m e w hen itstated on the firstpage ofitsruling tltatlpled guilty to defrauding the US. ln
  fact,asthe Courtw asw ellaw are,Ipled guilty to copyrightinfringem entw hich itseem sto m e isa very
  differentsortof a crim e.As lstated in m y appeal,som eone w ho com m its f' raud is a professionalliar
  and obviously ifIlied in the pastitcould be inferred thatIam lying now .

  371)lappealedthedismissal,butmyForm D-Pdisappearedfrom theappellatefile.Ihaveattachedmy
  copy ofthe Form D-P to end ofthiscom plaint.The clerk's receiptstam p can clearly l)e seen. There are
  in facttwo stam ps.Thishappened because Ikied to file m y Form D-P, brief,and otherpapers atthe
  sam e dm e thatlfiled m y nodce ofappeal.Iw as trying to save m yselfan exka trip to the courthouse.
  The Second Circuitand the SDN Y both share the sam e courthouse. The clerk then retum ed m y papers
  to m e because they w ere m issing the case num ber. The case num berhad yetto beassigned so lhad not
  been able w rite iton the capdon.1 then properly refilled the papersw ith the case num ber two w eeks
  laterw hich iswhy there are two stam ps.

  372)Abouttwoweeksafterlfiledthesecond 6mesomeonenodced thattheForm D-P wasnotinthe
  file and w rote m e a letler telling m e to file one. The letler w as sentto m e in China. Ihave attached a
  copy ofthe letter and the envelope in w ltich itw as m ailed to the end ofthis com plaint. As is evident
  from the envelope,the letterw asm ailed w ith incorrectpostageand then rem ailed. Ireceived itafterthe
  deadline had already expired.Atthe dm e m y copy ofthe Form D-P w as in a shipping containeron a
  ship so there w as nothing thatIcould do. US Goverm nentarranged for the letter notto reach m e in
  dm e.

  373)ItisobviousthatForm D-la'sdonotvanishontheirown,thatUSGovemmenthad unsupervised
  access to the case file, and that its disappearance w as m ost convenient for US Governm ent. US
  Governm entrem oved the Form D-P from the file and sdllhas the m issing Form D-P in itspossession. l
  w ould like the Courtto orderUS Governm entto return the m issing Form D-P.

  374)AccordingtoTheSecondRestatementofTorts:
          One who intentionally and im properly interferes with the performance ofa contractbetween
          anotherand athirdpersonnottoperform thecontract,issubjecttoliabilityto theotherforthe
          pecuniary lossresultingto theotherfrom thefailureofthethird person toperform thecontract.

  375)In stealing my Form D-P from theClerk ofthe US CourtofAppealsfortheSecond CircuitUS
  Goverm nentis guilty ofintendonalinterference w ith perform ance ofa contract. Obviously the Second
  Circuitand Ihad aconkactf' rom 'thedm ethatIfiled m y noticeofappealand paid m y filing fee.




                                                     38
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                   Count73 - lntentionalInflicdon ofEm odonalHarm -US G overm nent

   376)On April29,,2011,lmailedaregistered letter(RR543832490U5)from aPostOfficein New York
  City to an address in N ew York City. The letter w as properly and legibly addressed. N orm ally
  registered letlersare delivered the nextday to an addressin thesam e city. Thisletterw asnotdelivered
  untilM ay 11,M elve days later. The lettercontained a depositrefund check from m y form er landlord
  wlzich w ould have been difficultfor m e to have replaced since Iflew to C'llina on the sam e day as 1
  received and m ailed the check.Undernorm alcircum stances 1w ould send a check via regularm ailand
  save myself$10 and a trip to thePostOffice.Given al1ofthe claimslisted above, lw as fairly certain
  thatthe letterw ould be tam pered w ith. Thisclaim ishardly w orth w ridng exceptthatIhappen to have
  docum entadon forit.

  377)Accordingto'I'heTlzird Restatem entofTortsLiabilityforPhysicaland EmodonalHarm :
          446 -An actorwho by extreme and outrageousconductintendonally ... causes severe em otional
          harm toanotherissubjecttoliabilityforthatemotionalharm.

  378)1sufferedminoremotionaldisàessasaresultoftheUSholdingontomyletlerfortwelvedays                   .



  379)Tamperingwithaman'smailwithoutawarrantoranyintentionofobtainingoneceruinlyseems
  outrageousto m e.

    Count74 - Battery - US Governm ent, T& ITeq.I11Corp,Union & ProgressUSA LLC, Iconbrickell
                                                                              ,
       M asterAssociation,Inc, lconbrickellCondom inium N o. OneA ssociahoa Inc.,Iconbrickell
               Condom inium No.ThreeA ssociadon, lnc.,TRG BrickellPointH otel,LLC

  380)larrived in Miamiin Augustof2011.lspentabouttwo weekslooking foran apar% entand
  m oved into 475 BrickellAve - Apt1114 on Septem ber5th. RightafterIm oved in people started sliding
  furnittlre in the apartment above m e m aking loud screeclaing noises. Even ifIknocked on their door
  m inutesafterIheard the sliding no oneeveransw ered.

  381)Idecided thatIshould probablyshouldbreakmyleaseand rentahouseinstead. Once Ifound a
 house and agreed to bring a depositand sign a lease, the following day the realestate agentw ithout
 explanadon told m e thathe and the ow ner'sagentw ould no longerdealw ith m e. M y creditisspotless.
 A tthe dm e m y FICA score w as760. Ihad beenjustaccepted intomypresentbuilding,whi    ch hasreally
 tough standards, two w eeks previously. W hat had in fact happened in tltis case w as that US
 Governm enttold the realestate agentnotto rentm e the house and thatthey w ould com pensate laim
 forthe lostcom m ission.

 382)Thenoisecomingfrom theupstairsapar% entdropped offsoon aftertheproblem with thereal
 estate agent.W hatisnotm inorhow everarethepharm aceuticalgassesw hich isa repeatofm y lasttw o
 apare ents.The gassing and dartincidents condnue to the presentw ith sim ilar deleterious effects to
 m e.


 383)In orderinstalltheirgasdistributionapparamsin my apare entsat475 BrickellAve A pt1114    -

 and 485 BrickellAve- Apt2507 USGovernmentertlisted the help ofcodefendantsJ& JTeq. 1llCorp
 (landlord of1114),Union & ProressUSA,LLC (landlord of250D aswellaslconbrickellM aster
 A ssociadon,Inc,IconbrickellCondom inium No. One A ssociadon,lnc.,lconbrickellCondom inium N o.
                                                   39
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   Three Associadon,Inc., and TRG BrickellPointHotel LLC.They gave US G overnm entfree access to
                                                         ,
   m
   h  y apare  ent sin the daysbef
                                 ore Im  oved i
                                              n;afterI m oved in US Governm entillegally hasburgled m y
     om e anyw ay.US Goverm nentconducted renovadons to m y apare entfor the purpose ofinstalling
   their gas distribudon system as w ell as a fiber-optk video surveillance system
   G                                                                               . A tno tim e did US
     overnm enthave a court order to conductsaid acdvides. These defendantshave also set offthe fire
   alarm s on m y floorfor the prim ary purpose ofharassing m e and tam pered w ith the R'
                                                                                         V and Intem et
   service to m y apartm ents.

   384)AccordingtoTheSecondRestatementofTorts:
          b13-An actorissubjecttoliabilitytoanotherforbatteryifheactsintendingtocausea harm f'ul
          oroffensive contactwith theperson ofthe other... and a harm fulcontactw ith the person ofthe
          otherdirectly orindirectly results.

  385)US Governmentand the otherdefendantslisted in thiscountcomm itted battery each tim e that
  they adm inistered drugs to m e. Obviously w hether via gas or dart each instance is a ba/e
  different from that which w ould occur w hen a rapist adulterates a w om                   ry no
  (                                                                              an's drink with Rohipnol
  roofies),GHB(liquidx),Ketamine,etc.
   Count75 - RecklessDisregard ofSafety - US Governm ent,I& ITeq
                                                                  .lI1Corp,Union & ProgressUSA
     LLC, IconbrickellM asterAssociadon, lno IconbrickellCondom inium N o                          ,
         I                                                                 . One Associadon, Inc.,
          conbrickellCondom irtium N o. Three Associadon,lnc., TRG BrickellPointHotel
                                                                                      , LLC


  386)1reallegeParagraphs380-383.

  387)AccordingtoTheSecondRestatementofTorts:
        The actor's conduct is in reckless disregard of the safety of another if he does an act or
        intendonally failstodo an actwhich itishisduty to the otherto do knowing orhaving reason to
                                                                        ,
        know offactswhich w ould lead areasonablem an to realize,notonly thathisconductcreatesan
        unreasonablerisk ofphysicalharm to another, butalso thatsuch risk issubstantially greaterthan
        thatwhich isnecessary tom akehisconductnegligent.

  388)USGovermnentandtheotherdefendantslisted in thiscountshowedrecklessdisregard form y
 safety each tim e thatthey drugged m e.

   Count76 - Intrusion upon Seclusion - US Governm ent, I& ITeq.1IICorp Union & ProgressUSA
    LLC, lconbrickellM asterAssociadon, Inc,IconbrickellCondom inium N o                       ,
                                                                        . OneA ssociation,Inc
       IconbrickellCondom inium N o. Three Associadon, Inc.,TRG BrickellPointH otel          .,
                                                                                   , LLC


 389)1reallegeParagraphs380-383.

 390)AccordingtoTheSecond RestatementofTorts:
        96528 -Onewhointendonallyintrudes,physically orotherw ise,upon thesolitudeorseclusion of
        another orhis private affairs or concerns, issubj
                                                        ectto liability to theotherforinvasion ofhis
        privacy,iftheintrusion w ould behighly offensive toareasonable
                                                                         person.



                                                    40
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   391)US Governmentand the otherdefendantslisted in thiscounttortiously invaded my privacy
   each tim e thatthey used the surveillance equipm entto w atch orlisten to m e in m y hom e.

    Count77 -Trespass- US Governm ent, I& 1Teq.I11Corp,Union & ProgressUSA,LLC, Iconbrickell
        M asterA ssociadon,lnc,lconbrickellCondom inium No. OneAssociadon,Inc., lconbrickell
                Condom inium No.ThreeAssociation, Inc.,TRG BrickellPointH otel,LLC

  392)lreallegeParagraphs380-383.

  393)AccordingtoIheSecondRestatementofTorts:
          5158-Oneissubjecttoliability toanotherfortrespass,irrespectiveofwhetherhetherebycauses
          harm to any legally protected interestofthe otherifheintentionally entersland in thepossession
          oftheother.

  394)US Governmentand theoiherdefendantslisted in thiscountkespassed each time thatthey
  burgled m y hom e.

    Count78 - lntendonalInflicdon ofEm o:onalH arm - US Goverm nent, 1& 1Teq.IIlCorp Union &
      ProgressUSA,LLC,IconbrickellM asterA ssociadon, Inc,IconbrickellCondom inium N o.
                                                                                          One
  Associadon,lnc.,lconbrickellCondom inium No. Tltree Associaion,Inc., TRG BrickellPointH otel,LLC

  395)1reallegeParagraphs380-383.

  396)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
         946- An actorwho by extrem eand outrageousconductintentionally ... causessevere em odonal
         harm toanotherissubjecttoliabilityforthatemotionalharm    .




  397)Isufferedemodonalharm asaresultofUSGovernment'sand theotherdefendants'ac:ons The                     .
 Iconbdckelland TRG BrickellPoint Hotel defendants allow ed US Governm entto place its agents in
 their businesses acting as theirem ployees for the purpose ofharassing m e and causing m e em odonal
 harm .

 398)Ifthecrimesofbatterp burglary,andvideovoyeurism donotexceed therequirementforexkeme
 and oukageous conduct then it is difficult to know w hatsortof acdons w ould
                                                                              m eet or exceed that
 requirem ent.

 Count79 -Conspiracy-USGovernment,I& ITeq.II1Corp,Union & ProgressUSA, LLC, lconbrickell
                       .

      M asterAssociation,Inc,IconbrickellCondom inium N o. One Associadon,lnc.,Iconbrickell
              Condom inium N o.Three Associadon, Inc.,TRG BrickellPointH otel,LLC

 399)IreallegeParagraphs380-383.

 400)Accordingto'
                IheSecondRestatementofTorts:
        4875 -Each of two or m ore persons whose tortious conductis a legalcause ofa single and
        indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm      .




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   401)The above named conspirators acted in concertwith a common design to harm me in their
   com m ission ofCounts74-78.

     Count80 -Fraud -US Governm ent, Costco W holesale Corporadon, C'
                                                                    V S Carem ark Corporation       ,
                                               W algreens Co.

  402)lnOctober20111w entto see a psychiatristatthe University ofM iam ito try togetsomehelp with
  allofm y em odonaldiskess. M y psychiakistw rote m e som ebenzodiazepine prescriptions butw hen 1
                                                                                           ,
  w enton differentoccasionsto 170th W algreens, CVS,and Costco pharm acies1received fake drugsfrom
  the pharm acist.The pharm acists in each case w ere undercover 1aw enforcem entofficers.Iknow that
  the drugs were fake because after taking five or ten tim es the norm al dose I
                                                                                w as sdll w ide awake;
  obviously 1 did not take the pills all at once. Sleep deprivadon has been a regular feature of the
  condidons underwhich Ihave lived for the pastfew years. US Goverm nentwasacting in concertw ith
  Costco W holesale Corporation, W algreen Co.,and CVS Carem ark Corporadon.

  403)AccordingtoTheSecondRestatementofTorts:
         4525 -Onewho fraudulently makesamisrepresentation offact opinion, intention,orlaw forthe
         purpose ofinducing another to actor to refrain from action in reliance upon it,
         li                                                                          issubjectto
          abilitytotheotherindeceitforpecuniarylosscausedtohim byhisjustifiablerelianceuponthe
         m isrepresentation.      '

  404)Rule9q$:
     (1)W hen Iboughtdrugsfrom thesepharmaciesthey promised thatthey would providemewith correctl
     labeled puredrugs.                                                                                 y
     (2)Thesepharmaciesknew atthetimethattheywouldirusteadsellmebogusdrugs        .

     (3)lonlybecameawareofthedeceitoncelhadboughtthedrugsandleftthepharmacies          .

     (4)Inmakingtheirfalsepromisestometheyhadeveryintendon thatIshouldactuponthem          .
     (5)ldidinfactbuytheirdrugsandtheyscrewedme.

  405)WhenIwenttothesepharmaciestofilltheprescripdonsthatmy doctorhad written formeIhad
  every expectadon of receiving Teal, pure, and correctly labeled drugs, but in fact in each case I
  intendonally sold fakedrugsbearing counterfeitm arks. lw asdefrauded.

   Count81 -N egligentConduct- US Governm ent, Costco W holesale Corporation, CVS Carem ark
                            '
                                Corporadon,W algreensCo.

 406)IreallegeParagraphs402.

 407)AccordingtoTheSecondRestatementofTorts:
        j284-Negligentconductmay be ... an actwhich theactorasareasonableman should recognize
        asinvolvingan urtreasonableriskofcausing an invasion ofan interestofanother.

 408)US Government,Costco W holesale Corporation,CVSCaremark Corporation, and W algreens
 Co.were negligentin allow ing m e to receive bogus drugs from their pharm acists. These defendants
 violated theirduty ofcare to m e.


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         Count82 -IntendonalInflichon ofEm o:onalH arm - US Governm ent, Costco W holesale
                      Corporation,CVS Carem ark Corporation, W algreensCo.

  409)lreallegeParagraph402.

  410)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmotionalHarm:
          946 -An actorwhoby extreme and outrageousconductintentionally ... causes severe em odonal
          harm toanotherissubjecttoliabilityforthatemodonalharm.

  411)1sufferedemodonalharm a,sa resultofUS Governm ent's,Costco W holesale Corporadon/s, CVS
  Carem ark Corporation's,and W als eensCo.'sacdons.

  412)Iftamperingw1t14prescripdon drugsdoesnotqualifyasoutrageousconductitisdifficulttoknow
  w hatconductwould qualify.lndeed producttam pering isa seriousfelony underFederalLaw .

    Count83 -N egligentSupervision ofEm ployees- US Governm ent, Costco W holesaleCorporadon,
                           CVS Carem ark Corporation, W algreensCo.

  413)lreallegeParagraph402.

  414)US Govem ment,Costco W holesaleCorporation,CVS Caremark Corporation, and W algreens
  Co.had a duty ofcare w1t.14regard to hiring,training,and supervising theirem ployees. Fortheduty to
  apply, first it m ust be foreseeable that em ployees entrusted w ith specihc dudes and authority l)e
  properly trained and thattlae failure to do so could resultin harm to others. Second,if the em ployer
  failsto properly hire,train,orsupezviseem ployees, itbreachesitsduty to others.Third, there m ustbe a
  causalcoxmecdonbetweentheconductandtheinjury.

 415)Clearly had theUSGovernment,Costco WholesaleCorporation,CVS Caremark Corporation,
 and W algreens Co.em ployees w ho w ere responsible for these acuons been properly kained and
 supervised they w ould nothave w illfully sold m ebogusdrugs.

       Count84 - Conspiracy - US Governm ent Costco W holesale Corporation, C VS Carem ark
                                   Corporation,W algreensCo.

 416)lreallegeParagraph402.

 417)AccordingtoTheSecondRestatementofTorts:
         5875 - Each of two orm ore persons whose toriious conductis a legal cause of a single and
        indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm  .




 418) The above named conspirators acted in concert w ith a com m on design to harm m e in their
 com m ission ofCounts80-83.




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                                 Count85 -Abuse ofProcess-US Goverm nent

   419)ln February 2012 theUSmanufactured chargesagainstmein FloridaStateCourt, Dade County
   cas
   f
      e num ber F-12-004082.The so-called vicdm and w im ess in the case had been acdng under orders
    rom the FederalGovernm ent since before m y so-called crim e occurred. Subsequent to the so-called
   crim e the FederalGoverm nentcoerced the M iam iPolice and Dade Co
                                                                           unty prosecutor into pursuing
   the case w ith the result that l w as prosecuted for aggravated battery w ith a deadly w eapon for an
   alleged caraccidentthattheso-called vichm claim ed involved $600in dam agesa
   Y                                                                           ndnopersonalinjury.
    ou canteven fix a key scratch for$600.In theend lpled guilty to twrom isdemeanorsand accepted a
   sentence ofsix m onthsprobadon.

  420)US Governmentacted in conspiracy with the Dade County Public Defender'sOffice and
  lawyersJeffJames, JermiferParrado,and Kristina Gotera thusvioladng attorney clientprivilege amy
                                                                                               nd
  denyingmemyrighttocompetentlegalrepresentadon.

  421)AccordingtoTheSecondRestatementofTorts:
          4682 - One who uses a legalprocess, w hether crim inal or civil, against another prim arily to
         accomplish a purpose for which itis notdesigned, i
                                                          ssubjectto liability to the otherforharm
         caused by theabuseofprocess.

  422)ln having mearrested and prosecuted foracrimewhich theyhad arranged andforreasonsnot
  related to thatcrim eUS Governm entand isguilty ofabuse ofprocess.

                   Count86 - lntendonqlIyyfliçe n c?fEm odonalH arm - US Govenkm qnt   -




  423)IreallegeParagraphs419-420.
  424)Accordingto'
                 l'heThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm :
         546 -An actorwho by extrem eand oukageousconductintendonally . .. causes severe em otional
         h
          arm toanotherissubjecttoliabilityforthatemotionalharm .

  425)1sufferedemodonalharm asaresultofUSGovermnent'sacdons                .




 4
 i
  26)lfsetdngsomeoneup tobeprosecuted foraseriousfelonydoesnotqualifyasoukageousconduct
  tis difficultto know w hatconductw ould qualify.

                             Count87 - Trespassto Chatlel- US Governm ent

 427)InMarch2012theUSpoisonedtodeathmypetbabyMacaw parrot                      .



 428)AccordingtoTheSecondRestatementofTorts:
        5217 - A trespass to a chattelmay be committed by intentionally dispossessing another ofthe
        chattel.

 429)lnkillingmypetbabyMacaw parrotUSGovernmentisguiltyoftrespasstochattel                   .




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                   Count88 - lntendonallnfliction ofEm odonalHarm -US Governm ent

  430)IreallegeParagraph427.

  431)AccordingtoTheThird Restatem entofTortsLiability forPhysicaland EmohonalHarm :
          946 -An actorwhoby extreme and outrageousconductintentionally ... causes severe em otional
          harm toanotherissubjecttoliabilityforthatemotionalharm.

  432)lsuffered emodonalharm asaresultofUSGovermnent'sactions Inow am afraid to buy another
                                                                         .

  petsince Ido notw antitto suffera sim ilarfate.

  433)Ifintendonally poisoning to death aman'spetdoesnotqualify asoukageousconductitisdifficult
  to know w hatconductw ould qualify.

               Count89 - Inkusion upon Seclusion -US Goverm nent, University ofM iam i

  434)InAugust2012theUSstartedusinganew (new tome)drugwhichmademefeelasifmyprostate
  and bladder are aboutto explode. On one occasion the pain spread into m y rightureter and itfeltas
  though lhad a kidney stone passing through it. Passing akidney stoneisoneofthem ostpainfulthings
  thatcan happen to a person and isgenerally treated w ith m orphine.

  435)Duringthesixmontltsfrom theend ofSeptember2012totheendofMarch2013lwasdruggedso
  badly that1had to go to hospitalem ergency room s eightdm es during thatperiod. On som e occasiorts
  the gas givesm eterrible headaches, butm ore frequently itm akesm e so depressed as to m ake m e titirtk
  aboutw aysthatIw ould like to killm yself. lbelieve thatm any psych drugshave to have colored labels
  on theirpillbottlesw arning aboutthe risk ofsuicide to people taking thosedrugs.

 436)M orefrequentlythegaseffectsarenotsoseriousastocausemetogotoahospital, butinstead I
 have to drirtk large am ountsofliquorto counteractthe gas'
                                                          s deleteriouseffects. During these episodesI
 generally drink in excess ofa quartofliquorper day. Ido notpardcularly like to drink undernorm al
 circum stances.W hen US Goverm nent leaves m e alone I w ill go a week or m ore w ithout touchin
                                                                                                      g
 alcohol.W hen 1have to drink lcannothelp butfeellike a character in a W estern w ho has to d
                                                                                                 rink a
 bottle ofwhiskey beforesom eonepullsa bulletoutofhim orsaw sllisleg off.

 437)lflhad away tofillprescripdonsIcould easily treatmyself,butsince, as ldescribe in Paragraph
 402,lalw aysseem to be sold fake drugsatwhateverpharm acy 1visit, hospitlem ergency room sseem
 to be m y only recourse.lgenerally go to the University ofM iam iH ospital. Asw if.
                                                                                   IIthe hospitalvisits
 thatIdescribe in Paragraphs 253 & 266 US Governm entagain seem sto be m artipulaHng eventsbehind
 the scenes.A tthe beginning theseeventsw erein the nature ofm edicalstaffasking skangequesdonsor
 the padentin the alcovenextto m ebehaving oddly. ltw asnothing to getexcited aboutespecially since
 as far as1could tellthisbehaviordid notaffectthe m edicalcare thatlreceived. M ore recently how ever
 thingshave changed.

 438)USGovermnentnow seemstohaveplaceditspeoplein chargeoftriageatUniversityofMiamiso
 thatitisnow ableto effecdvely deny m e accessto the em ergency room . On M arch 7th,2013 1w asin the
 em ergency room w aidng area atUniversity ofM iam iw hen lfeltso bad thatlneeded to 1ie dow n and
                                                    45
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   the only place available w as the floor. After I had been lying on the floor out of the w ay for a fe
                                                                                                          w
   m inutes the kiage person cam e and told m e thatIhad to sitin a chair. 1told ltim Iw as sick,buthe said
   thatif 1 did not m ove he w ould phone the police. Iasked him to put lais request in w ridng
                                                                                                      but he
   refused.Abouthalfan hourlaterthe police acm ally cam e. M aybethisisstandard procedure ,
                                                                                                 , butitsure
   seem s odd to m e.lcannothelp buttllink thatanyone elsew ould have received differentkeae        ent   .



   439)BythedmethatIfinished V t.
                                IAthepolicethedrugshadwoz.
                                                         noffenoughthatIdecided thatlfelt
  w ellenough to go hom e. Thisalso happened in January 2013 when lwaited so longin theem ergency
  w aidng room that I feltw ell enough to leave w itlaout ever seeing an
  M                                                                     yone except the kiage person.
    aybe US Governm entw as trying to help m e save m oney by keeping m e waidng,butI suspectthat
  their reasonshave m ore to do w ith covering theirown assesand avoiding having the em ergency room
  doctorsgetangry w ith them forw hatthey w ere doing.

  440)UniversityofMiamisharedmymedicalrecordswithUSGovernmentwithoutmyauthorization.
  441)AccordingtoR'heSecondRestatementofTorts:
          56528 -Onewho intentionally intrudes, physically orotherw ise, upon thesolitudeorseclusion of
         another orhis private affairs orconcerns, issubjecttoliabil
                                                                   ity totheotherforinvasion ofhis
         privacp iftheinkusion would behighly offensivetoareasonableperson .

  442)In sharingmymedicalrecordsUSGovem mentand UniversityofMiamiareguilty ofitw asion
                                                                                                .
  ofprivacy.

       Count90 - lntendonalInflicdon ofEm odonalH arm         -
                                                                  US Govem m ent,Urtiversity ofM iam i

  443)1reallegeParavaphs434-4* .

  444)Accordingto'
                 T'
                  heThirdRestatementofTortsLiabilityforPhysicalandEmodonalHa
         546 - An actorwho by extreme and oukageousconductintentionally                     rm :
         h                                                              ... caus
                                                                               es severe em odonal
          arm toanotherissubjecttoliabilityforthatemotionalharm     .




 445)Isufferedemodonalharm asaresultofUSGovernment'sandUniversityofMiami'sacdons.

 4
 d46)Ifplayingpsychologicalgameswith aman w1t14respecttohismedicaltreae entand effecdvely
 k
  enying him access to the em ergency room does not qualify as outrageous conduct itis difficultto
  now w hatconductw ould qualifp

                 Count91 -N egligentConduct-US Governm ent University ofM iam i

 447)IreallegeParagraphs434-440.

 448)AccordingtoTheSecondRestatementofTorts:
        0284- Negligentconductm ay be ... an actwhich theactorasareasonablem an should recognize
        asinvolving an unreasonablerisk ofcauying an invasion ofan interestofanother.



                                                     46
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   449)US Governmentand Urtiversity ofMiamiwerenegligentnotallowingmeto seeadoctorina
   tim ely m alm er and in throw ing m e out of the em ergency w aidng room . US Governm ent and
   U niversity ofM iam iviolated the
                                   'irduty ofcare to m e.

                       Cgum 92 -Conppia c'y rUS Governm ent,University ofM iam i
                               -      -




   450)1reallegeParagraphs434..
                              440.

  451)AccordingtoTheSecondRestatementofTorts:
           5875 - Each of two or m ore persons whose tortious conduct is a legalcause ofa single and
           indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm   .



  452)USGovemmentandUniversityofMiamiacted inconcertM tIAa com m on design to harm m e in
                                                                          .

  theircom m ission ofCounts89-91.

            Count93 -Intendonallnflicdon ofEm odonalH arm        -
                                                                     US Governm ent,City ofM iam i

  453)ln May2013City ofMiamiintendonallydestroyedmycarand lhadtofilesuitagainstitin Dade
  County Courtsince the City refused to com pensate m e for the loss. Thatsuitisfor property dam ages
  only.As aresultoflosing m y carin tltism anner1suffered em otionaldistress.

  454)ln February 2012,asldescribein Paragraph 419, 1w asarrested and the M iam iPolice im pounded
  m
  A
    y car,a 1995 BM W 5401.O n August25, 2012 the detecdvew ho had im pounded m y carreleased it. ()n
    ugust29,2012 and on February 13, 2013 the City ofM iam isentm e nodces via Cerdfied M ailthat I
  could pick up m y car if lpaid them for their tow ing and storage expenses,wltich w as in itself an
  im properdem and.The City cannotforce m e to pay to store theirevidence. ltisnotas ifIparked in a
  tow aw ay zone.

 455)Ineverreceived theCity'snoucesand theCity knew that1had notreceived them sincethemail
 w asreturned to them undelivered. The City neverbothered to contactm e via regular m ail via phone,
                                                                                           ,
 or via m y em ailaddress,ofw hich they w ere in possession. A tthe tim e Iw as m aking m onthly court
 appearancesyetthe prosecutorneverbothered to nodfy m e orm y law yer thatheno longerneeded m y
 carw hen he saw usin court. The City also neverbothered to nodfy the courtorm y law yer. Iw asin no
 w ay a hard person to find.

 456)Within daysafterthejudicialproceedingsagainstmeterminated withamisdemeanorguiltyplea
 and asentenceofproba:on inJune2013 1attem pted to havemy carrehzrned tom e. Ieven wentto the
 length ofobtaining a courtorder for the return ofm y car. 1did everything possible to seek its dm ely
 return.


 457)Accordingto'
                I'
                 heThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm:
        546 -An actorwho by exkeme and outrageousconductintentionally ... causessevereem otional
        harm toanotherissubjecttoliabilityforthatemotionalharm   .




 458)lsufferedemodonalharm asaresultofUSGovermnent's, and City ofM iam i'sacdorus            .




                                                    47
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   459)lfintendonally deskoying a man'scardoesnotqualify asoukageousconductitisdifficult to
   k
    now whatcondtictw ould qualify.

                         Count94 - Conspiracy -US Govermnent, City ofM iam i

   460)1reallegeParavaphs453-456.

   461)AccordingtoTheSecondRestatementofTorts:
         9875 - Each oftwo or more personswhose tortious conductis a legal cause of a single and
         indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm .

   462)USGovernmentand City ofMiamiacted inconcertwith acommondesign toharm m e in their
   com m ission ofCount93.

    Count95 -lntendonalInflicdon ofEm ohonalH arm       -
                                                            US Governm ent,H otwire Com m unications

  463)The US acted in concertW tIAHotwire Communicadonsforthepurpose ofsabotaging m y TV
  recepdon and Internet service. These services seem to have regular glitches w hich are ca
                                                                                           used on
  purpose.ln Septem ber2013 H otwireturned offm y TV recephon forten d
                                                                      ays.
  464)AccordingtoTheThirdRestatementofTortsLiabilityforPhysicalandEmodonalHarm
         546 - An actorwhoby extw meand outrageousconductintentionally                         :
         h                                                             ...   causessevere em otional
          arm toanotherissubjecttoliabilityforthatemoEonalharm   .




  465)lsufferedemodonalharm asaresultofUSGovernment's, and H otw ireCom m unicadons'actions            .



  466)lntendonallysabougingaman'sutilitiescertainlyseemsoutrageoustome            .



                 Count96 -Conspiracy -US Govem m ent H otwire Com m unicadon s

  467)IreallegeParagraph463.

  468)AccordingtoTheSecondRestatementofTorts:
        5875 - Each of two or m ore persons whose tortious conduct is a legalcause ofa single and
        indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpartyfortheentireharm .

 469)USGovermnentand Hoe ireCommunicadonsacted in concertwith acommon design to harm
 m ein theircom m ission ofCount95.

                               Count97 -Conspiracy - AllDefendants

 470)1reallegeCounts1-96exceptforCount5(CivilRICO)          .




 471)AccordingtoTheSecondRestatementofTorts:
       5875 -Each oftwo or m ore persons whose tortious conductis a legalcause ofa single and
       indivisibleharm totheinjuredpartyissubjecttoliabilitytotheinjuredpari'yfortheendreharm .
                                                  48
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  472)AccordingtoAmericanJurisprudenceSecondEdihon:
          j57 - Upon joining a conspiracy a defendantbecomes a party to every actpreviously or
          subsequently comm ifted by any ofthe otherconspiratorsin pursuitoftheconspiracy.

  473)USGovermnentalongwith a11oftheotherdefendantsacted in concertw ith a com m on design of
  intendonally inflicdng upon m e em odonalharm in their com m ission ofCounts 1
                                                                                 96(except5).A11of
                                                                                         -

  thedefendantsvoluntarily joined tlaisconspiracy and choseto commitillegalovertactsin furtherance
  ofthe conspiracy.Inflic:on ofem odonaland frequently physicalharm has been the overriding goalof
  US Governm ent.One could certainly argue thatm any ofthe other defendants did nothave this goal.
  The problem forthem is thatthey allowed agentsofUS Governmentto becom e theiragentsand/or
  em ployees.Thus ifone em ployee ofa defendanthad a goalofinflicdng upon m e em odonalharm then
  so did the em ployer.Ata m inim um then al1defendants are thusvicariously liablein tltisCount.

                                  Count98 -CivilRICO - US Governm ent

  474)IreallegeCounts1-97.

  475)AccordingtotheUSCode:
         18 USC 1961 statesthat''
                                racketeering activity'
                                                     'm eans... any actthatisindictableunderany ofthe
         f
         followingprovisions...5659(relating totheftfz'
                                                      om interstateshipment) 51341(relatingtomail
                                                                              ...

          raud) ...91343 (relahng to wirefraud) 02320 (reladng to trafficking irtgoodsorsezvices
         bearingcounterfeitmarks)
         18 USC 1961 states that'' racketeering activity''means any offense involving . .. receiving or
         otherwisedealing ...acontrolled substance ... punishableunderany law oftheUS.
         18 USC 1962 statesthatitshallbeunlawf'   ulforany person employed by orassociated with an
                                                                                                      y
         enterpriseengaged in,ortheactivitiesofwhich affect, interstateorforeign com merce,to conduct
         orparticipate,directly orindirectly,in the conductofsuch enterprise'saffairs through apattern
         ofracketeering activity.
         18USC 1964statesthatanypersoninjuredinhisbusinessorproperty by reason ofavioladon of
         section 1962 ofthischapterm ay suethereforin any appropriateUnited Statesdiskictcourt.

 476)USGovermnentviolatedthecivilracketeeringstatatewhen:
     *endcedmylawyerstocommitmailfraudbymailingtheirfraudulentbillsacrossstatelines(Count2);
     *itunlawfullystolecontrolledsubstancefrom aninterstateshipmentaddressedtome(Counts35& 3D9
     *enticed theotherdefendantsin to comm itwirefraud asdescribed in Counts58, 61,65,& 95;
     *enticedpharmaciststosellme'drugs'bearingcounterfeitmarks(Count80/
     * has 'otherwise dealt'controlled substances to m e each ofthe thousandsoftim es thatith
                                                                                             asdrugged me
     (Counts24,47,& 74).

 477)US Government's severalthousand RICO predicate acts have form ed a condnuous pattern of
 enterprise activity for over eight years and continue to tltis very day. US G overnm ent and its co-
 conspirators have taken w ellover one m illion dollars from m e during this period of6m e so there can
 be no quesdon but that they ha  've been conducting an enterprise. Tltis enterprise affects interstate
 com m erce in thatUS Governm enthasfollow ed m e across state lines, stolen from interstate shipm ents,
 and conducted theirenterprisein m any differentstatesand acrossstatelines.


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   Relief:
   478)lclaim thefollowingdamages,jointly and severally,againsteach defendantbased on theclaims
   setforth in Counts1-98.
       * Com pensatory dam agesin,excessof$200,000,000.
      *Punitivedam agesin excessof$400,000,000.
      *Racketeering damagesin excessof$400,000,000.
      * Such otherand ftutherreliefasthisCourtm ay deem appropriate, including costsand reasonable
      attorney'sfees.

  479)1would also Iikethecourtto ordertheUStoimmediately stop doing al1oftheillegalactsthatI
  have listed in thiscom plaint. 1fully expectthatthe Court'sorder, ifitw ere forthcom ing,m ightwellbe
  m etwith a response along thelinesof''Jolm M arshallhasmade lzisdecision;now 1ethim enforceitl'
  butlsuppose thatnon-com pliancew ith such an orderw ould increasethe am ountofdam agesthatw i11
  eventually be aw arded to m e.

  Conclusion:
  Iam the firstperson to adm itthatthiscom plaintisprobably thestrangestnon-ficdonalstory thatlhave
  everread,butneverthelessitcannotbe dism issed on thisbasisalone. lfIhad filed a com plaintclaim ing
  that the US Governm ent had '   put LSD in m y coffee or that they had kidnapped and held m e
  incom m urticado on a farm in Virginia for five years, m ight those claim s be dism issed? M aybe but
                                                                                                   ,
  nevertheless those incidents did in fact happen. All one has to do is G oogle M K-ULTRA or Yuri
  N osenko.Iw onderiftlae victim s ofthose crim es, perpekated by the US Governm ent,w ould have been
  able to have theirclaim sheard im parhally in FederalCourthad they filed them prior to the reveladons
  ofthe Church Com m itlee.




                                                            Randolph G uthrie,Pro.Se.
                                                            485 BrickellAve - #2507
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                                                            randygutlqrieA ahoo.com
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Case 1:12-cv-22193-MGC Document 64 Entered on FLSD Docket 11/18/2013 Page 53 of 57




                                                                   Randolph H.Guthriel1I
                                                                   3333 Broadway #C23J
                                                                   New York.NY l003l

                                                                   October23,2008

        Urban American M anagem ent
        596 -56 St
        W estNeMvYork,N-1 07093


        On October 1ThIsigneda lease tbram rtmentC23Jin the building thatyou manage at
        3333 Broadway in New York City.On October21StIdiscovered thatthe mortise lock
        which had been installed in m 3'door by your com pany Bras wom out and dam aged
        beyond repair.Among othtrproblem sthe setscrew vvhich keepsthe lock cylinder fiom
        being rcmoved t'
                       rom theoutsidewasloose which meantthatanyonewithapairofpliers
        could have unscrcwed the lock cylinderand entered my apartmentbetween the 17'    Hand
        the 2lSt 'I'he reason thatthe setscrew was loose was thatthe sleeve into which the set
        screw issupposed to betightened had no threadslefl in it,thusallowing the setscrew to
        move in and outunim m ded,

        On the 21* I personally'installed a M edeco -top lockt and 1 no longer believe my
        apart- tto be immediately vulnerable,howeverwhile thcmortise lock hasbeenjury
        rigged by yourstafr ithasstillnotbeen fixed.b'/ot'
                                                         lrbuilding managerTony Bolbolian hlt
                                                                                            's
        assured me thatanew lock willbe instzlo-   '
                                                   lttrsoon ashereceivesonethat:111fitmy
        door.

        This incident is panicularly disturbiug to m e in light of the fact that your em ployec
        Natalie M ills gave lne m y keys afterI signcd the lease and told m e thatç%these are the
        only keysto yourdoorand a new cylinderhadjustbeeninstalled thisweek''l'
                                                                              low then
        could your stafflzave installed a new cylinder withotltnoticing thatthe setscrew'vvas
        loose? Either thc installers were negligent,ormore disturbingly lwas being setup fora
        burglary.1hope thatyou willfully investigatethisincidentsincethese same workersmay
        have installed sim ilar defective locks in other tenants' doors. I had been under the
        im pression thatNatalie M illswasyourbuilding m anagerbecause Tony Bolbolian did not
        seem to be in theofl-icc during the wcek ofOctober l3tl'wz
                                            '                    hen Iwassigning thelease and
        theapplicationandNatalie handled bm hdocum ents.
        On October 14V'1l'
                         Id to waitfortwo hours in the office at3333 Broadway forNatalie's
        boss to vetmy ' ication.During thattime lasked Natalie ifIm ightgo up and have
        another look atthe apartment,Natalie 4*         d and stated that 1 could only see the
        apanmentwzith my realestate agent.Isthis in fractyourpolicy? This incidentcombined
        with the Iock incident makes m e think that m aybe som ething was going on in that
        apartlnem thatshe did notwantme to see Iwould thus like to ask you tbr the record,
        wcr
         ' e you
               '   doing any work in apartm entC23J during the week ofOctober 13*? Did any
        third partieshave
                        ' accessto thata- m nentduring theNveek ofOctober13tb?




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Case 1:12-cv-22193-MGC Document 64 Entered on FLSD Docket 11/18/2013 Page 54 of 57




         M y actualIcase nm s from October 15,2008 to Septem ber 30v2009,howeverlpaid for
         one year in advance.Obviously 1 am entitled to a refim d of half a m onth's rent ln
                                                                                          .

         addition lwastold thatdue to a specialprom otion thatyourcom pany wasnmning thatl
         would also be receiving halfa month'sfiee rent.Natalie M illstold me to expecta refund
         check within one month.ldonftexpectany problem shere butas long as lwas Nvriting
         thisletterlthoughtthat1should m ention thisissue.


         'I'
           he tenantin the apartm entnextto lne C231-1isin the habitofplaying very loud mm ic t
                                                                                              .

         have notyetfully'm oved into my apartm entyetso farlhave already been disturbtd by
         thisl'rlusic on October 19thand October22nd 80th incidentsoccurred betw een 1 PM and
                                                   .

         3 PM .The music was so loud thatI could hear itclearly down the hallas soon as l
         steppcd offthe elevator.The noise thalcomes through ourcommon wallis txtremely
         disturbing to me.lm ade a Nvritten complaint to Tony Bolbolian on October22ndabout
         this problem .I-le said thathe would try to solve it.l-aterthatday 1saw the occupantof
         (72311 in the hallway and Iasked heraboutthe music.Herreaction was so say **W hat
         good ism usic ifitisnotloudl''W ith an attitude like thatIhavereason to doubtthatTony
         willbesuccessful,Ifthisproblem continuesyou and the landlord can expectto benamed
         aspartiesin a lawsuitquite soon.
                  l
         W hen Isigned my lease on October17t
                          '
                                            hNae.ie took back both copiesand said thatl
         would be receiving m y copy once itbad    ':' ed.So farlhave notreceived my copy         .

         lassume though thatitison itsw'ay.


         Othervery minorproblem'sarethatthe rod thattum sthe mini-blindsin my apartmentis
         broken and the m icrmvave oven carrocelltray ism issing.Tony has prom ised to address
         these issuesalso.


                                                   Sincerely,




                                                          Randolph Guthrie




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Case 1:12-cv-22193-MGC Document 64 Entered on FLSD Docket 11/18/2013 Page 55 of 57




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               Ata StatetlTenn ofthe United StatesCourtofAppeals forthe Second Circuit, held at
       the DanielPatrick M oynihan United StatesCourthouse, 500 PearlStreet,in the City ofNew
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        Randolph H .G uthrie,111,                                 O RDER
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        Plaintifr-Appellant,



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       Investigation,C'ity ofN ew York.RiversidePark
       Com munity,LLC,Riverside Park Comm unity l1, LLC,
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       Pizzo,Tara Tam ang,CarolM alek, M alek Propertles,

       Defendants-Appellees.


             A noticc ofappealwysflled on M arcb l4, 20l1.Appellant's Fonn D-P wasdue M arch
      28-20l1.The case isdeemed in default.



               IT IS HEREBY ORD ERE D thatthe appealwillbe dislnissed effective June 6, 2011if
      the tbn'
             n isnotfiled by thatdate.




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Case 1:12-cv-22193-MGC Document 64 Entered on FLSD Docket 11/18/2013 Page 56 of 57



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